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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  IN RE VOLKSWAGEN TIMING CHAIN              Civil Action No. 16-2765 (JLL)(JAD)
  PRODUCT LIABILITY LITIGATION




              PLAINTIFFS’ BRIEF IN OPPOSITION TO
        DEFENDANT VOLKSWAGEN GROUP OF AMERICA, INC.’S
         MOTION TO DISMISS AND TO COMPEL ARBITRATION




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                          PRELIMINARY STATEMENT

        For nearly a decade, Defendant, Volkswagen Group of America

  (“Defendant” or “VWGoA”) has known that the timing chain system installed in

  its Class Vehicles1 (the “Timing Chain System”) is defective and likely to fail

  catastrophically well before any service or maintenance should even be necessary.

  This defect puts consumers’ safety at risk and exposes them to substantial financial

  harm. Defendant at all times concealed this information and represented that the

  Class Vehicles were safe, reliable, and fully protected by an extensive warranty

  should there be any defects.

        Plaintiffs bring this action seeking compensation for the substantial costs

  and expenses associated with the defective Timing Chain System in their vehicles,

  asserting claims on behalf of a class for breach of warranty, statutory consumer

  fraud, common law fraud and unjust enrichment.2 In an attempt to escape liability

  for its wrongful actions, Defendant asserts any and all conceivable arguments –

  regardless of merit, and despite the fact that most have been squarely rejected by

  numerous courts. As explained in detail below, Plaintiffs’ claims are well-pled.

  As several other courts have done when considering nearly identical claims

  1
   The First Consolidated Class Action Complaint (“Compl.”) (ECF No. 6) defines
  “Class Vehicles” as all 2008 through 2013 model year 2.0L TSI or 2.0L TFSI VW
  or Audi vehicles containing the defective Timing Chain System. Compl. ¶ 1.
  2
   Plaintiffs will stipulate to the dismissal of Count II of their Complaint for breach
  of contract.

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  involving defective timing chain systems in other automobiles, see , e.g., Skeen v.

  BMW of N. Am., LLC, No. 13-cv-1531, 2014 WL 283628 (D.N.J. Jan. 24, 2014);

  Falco v. Nissan North America Inc., No. 13-cv-00686, 2013 WL 5575065 (C.D.

  Cal. Oct. 10, 2013); In re Saturn L-Series Timing Chain Prods. Liab. Litig., MDL

  No. 1920, 2008 WL 4866604 (D. Neb. Nov. 7, 2008), this Court should deny

  Defendant’s Motion and allow Plaintiffs to pursue recovery for the wrongs they

  have suffered.

                             FACTUAL BACKGROUND

        A properly functioning timing chain system is essential because it maintains

  synchronization between rotating engine components, such as cylinder valves and

  pistons.   Without proper timing chain tension, and resulting synchronization,

  cylinder valves and pistons can collide, resulting in catastrophic engine failure.

  This poses a significant safety risk – when the Timing Chain System suddenly and

  unexpectedly fails, the engines in Class Vehicles shut down with resultant loss of

  power steering and power brakes. Compl. ¶¶ 4, 92. Thus, drivers and occupants of

  the Class Vehicles are at risk for collisions and other accidents. Id.

        While unknown and undisclosed to Plaintiffs and Class members, Defendant

  has long known that the Timing Chain System in the Class Vehicles is defective.

  Pre-production testing, pre-production design failure mode analysis, production

  design failure mode analysis, aggregate warranty data, repair order and parts data,


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  consumer complaints and testing all gave Defendant early warning of the problem.

  Compl. ¶¶ 107-08. In fact, as early as June 2010, Defendant began issuing several

  Technical Service Bulletins (“TSBs”) to its exclusive network of dealerships

  describing the problems with the Timing Chain System, but Defendant did not

  disclose any information about the defect to Plaintiffs or Class members. Id. ¶¶

  111-22. Multiple consumer complaints about the defective Timing Chain System

  were also lodged with the National Highway Traffic Safety Administration

  (“NHTSA”). Id. ¶¶ 123-25.

        Significantly, in or around 2012, and no doubt in response to substantial

  problems being reported, Defendant completely redesigned the timing chain

  tensioner and timing chain (the major components of the Timing Chain System)

  and stopped installing the defective Timing Chain System in its vehicles – events

  which certainly followed extensive field research, investigation and analysis of the

  defect, and rebidding of components. Id. ¶¶ 108, 126-31. Despite all of this,

  Defendant still refuses to notify consumers of this defect or to accept responsibility

  for repairs under warranty. Instead, Defendant is allowing Class members to

  unknowingly operate vehicles that could fail catastrophically at any moment.

        The defective Timing Chain System creates substantial expense for Plaintiffs

  and the Classes, with necessary repairs and replacement running from $1,200 for

  the chain tensioner and Timing Chain System to $10,000 to replace the entire


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  engine after failure. Id. ¶ 5. Rather than repair or replace the defective part, as

  Defendant was required to do under warranty, Defendant has wrongfully and

  intentionally transferred the cost to Plaintiffs and Class members by fraudulently

  concealing the existence of the defect, knowing that it typically results in

  catastrophic engine failure after the expiration of the warranties. Id. Defendant

  also disseminated false and misleading information about the reliability, quality

  and expected life of the Class Vehicles. This false and misleading information

  served to conceal the defective Timing Chain System, in order to sell Class

  Vehicles to uninformed consumers. Id. ¶ 156.

        As a direct result, all 36 Plaintiffs and all Class members purchased or

  leased Class Vehicles that are unreasonably dangerous, are worth considerably less

  than represented, and carry an increased cost of vehicle ownership and an

  increased risk of injury that was not disclosed or reasonably anticipated at the time

  of purchase or lease. All but two Plaintiffs’ vehicles experienced engine failure

  caused by the defective Timing Chain System and incurred additional expenses

  that Defendant was obligated to cover.        None of the Plaintiffs would have

  purchased their vehicles, or would have paid as much for their vehicles, had they

  known that the defective Timing Chain System would expose them to significant

  safety risks or require them to spend thousands of dollars in repairs. Compl. ¶¶

  184, 187, 221.


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                                    ARGUMENT

  I.    LEGAL STANDARD
        In deciding a motion to dismiss, the court must assume that all factual

  allegations set forth in the complaint are true, Bell Atlantic Corp. v. Twombly, 550

  U.S. 544, 556 (2007), and it must draw all reasonable inferences from the pleaded

  factual allegations in favor of the non-moving party.       Phillips v. County of

  Allegheny, 515 F.3d 224, 233 (3d Cir. 2008).

        Courts conduct a three-pronged analysis when deciding a motion to dismiss

  under FED. R. CIV. P. 12(b)(6). See Malleus v. George, 641 F.3d 560, 563 (3d Cir.

  2011). “First, the court must ‘take note of the elements a plaintiff must plead to

  state a claim.’” Malleus, 641 F.3d at 563 (quoting Ashcroft v. Iqbal, 556 U.S. 662,

  675 (2009). Second, the court must accept all of the plaintiff’s well-pleaded

  factual allegations as true and must interpret the Complaint in the light most

  favorable to the plaintiff. See Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11

  (3d Cir. 2009. In addition to considering the well-pleaded allegations in the

  complaint, the Court may rely upon exhibits attached to the complaint, documents

  integral to or relied upon in the pleadings, and matters of public record. Pension

  Trust Fund for Operating Engineers v. Mortgage Asset Securitization

  Transactions, Inc., 730 F.3d 263, 271 (3d Cir. 2013). Only legal conclusions or

  unsupported conclusory factual allegations (of the kind that merely state “the-


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  defendant-unlawfully-harmed-me”) need not be accepted as true. Iqbal, 556 U.S.

  at 678 (citing Twombly, 550 U.S. at 555). Third, the court must determine whether

  the “facts alleged in the complaint are sufficient to show that plaintiff has a

  ‘plausible claim for relief.’” Fowler, 578 F.3d at 211 (quoting Iqbal, 556 U.S. at

  679).

          The determination of whether a plaintiff’s claim for relief is plausible is a

  “context-specific task that requires the reviewing court to draw on its judicial

  experience and common sense.” Iqbal, 556 U.S. at 679.3 Plausibility “is not akin

  to a ‘probability requirement,’ . . . it [merely] asks for more than a sheer possibility

  that a defendant has acted unlawfully.” Id. at 678. The Court should not consider

  whether it believes the plaintiff ultimately will prevail, but only whether the

  plaintiff is entitled to offer evidence to support the claims in the complaint.

  Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), overruled on other grounds, Davis v.

  Scherer, 468 U.S. 183 (1984).

  II.     DEFENDANT CANNOT COMPEL ARBITRATION

          Defendant cannot rely on the arbitration provisions in “purchase

  agreements,” between some Plaintiffs and the dealerships where they purchased




  3
   Unless otherwise indicated, all emphasis is added and internal quotation marks
  and citations are omitted.

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  their Class Vehicles, to compel arbitration.4     Defendant is not a party to the

  purchase agreements and Plaintiffs never agreed to arbitrate their claims with

  Defendant. Moreover, the doctrine of equitable estoppel is inapplicable because

  Plaintiffs’ claims are not based on the terms of the purchase agreements and do not

  allege concerted misconduct by Defendant and the dealerships.

        Initially, this Court (and not an arbitrator) has jurisdiction to decide whether

  a valid arbitration contract exists between Plaintiffs and Defendant. See Granite

  Rock Co. v. Int’l Bhd. of Teamsters, 561 U.S. 287 (2010) (“It is [ ] well settled that

  where the dispute at issue concerns contract formation, the dispute is generally for

  courts to decide.”). Thus, the threshold issue – of whether a party has the ability to

  compel arbitration – must be decided by the Court. See In re Toyota Motor Corp.

  Hybrid Brake Mktg., Sales, Practices & Prods. Liab. Litig., 828 F. Supp. 2d 1150,

  1159, n.5 (C.D. Cal. 2011) (defendant “cannot invoke the right to the benefits of

  the Purchase Agreement because it was not a party to the agreement; thus, the

  threshold issue of whether [the defendant], as a nonsignatory, may compel

  Plaintiffs to submit to arbitration under the Purchase Agreements must be decided

  by this Court”).
  4
    Defendant attaches purchase agreements purportedly entered into by 9 out of 36
  Plaintiffs. See Mot., Exs. A-I to Declaration of Robert Cameron dated December 8,
  2016 (“Cameron Decl.”). Two of the agreements are between Plaintiffs and non-
  Volkswagen/Audi dealerships. See Cameron Decl., Exs. C (Nissan Agreement)
  and H (Suzuki Agreement). Defendant has not offered any agreements for the
  remaining 27 Plaintiffs.

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        A.     Defendant is Not a Party to the Purchase Agreements

        As a general rule, non-signatories cannot enforce an arbitration provision in

  an agreement to which it is not a party. See Atalese v. U.S. Legal Servs. Grp., L.P.,

  219 N.J. 430, 442-45 (2014) (“An agreement to arbitrate, like any other contract,

  ‘must be the product of mutual assent, as determined under customary principles of

  contract law.’”); Toyota Hybrid Brake Litig., 828 F. Supp. 2d at 1158-59

  (“Generally, the right to compel arbitration derives from a contractual right, and

  ‘[t]hat contractual right may not be invoked by one who is not a party to the

  agreement and does not otherwise possess the right to compel arbitration.’”).

  “[B]ecause arbitration involves a waiver of the right to pursue a case in a judicial

  forum, courts take particular care in assuring the knowing assent of both parties to

  arbitrate, and a clear mutual understanding of the ramifications of that assent.”

  Atalese, 219 N.J. at 442-43. While a non-party may compel arbitration in limited

  circumstances, there is no presumption in favor of arbitrability where the party

  seeking to compel arbitration is not a signatory to the agreement. Griswold v.

  Coventry First LLC, 762 F.3d 264, 271 (3d Cir. 2014) (“The presumption in favor

  of arbitration does not extend [ ] to non-signatories to an agreement; it applies only

  when both parties have consented to and are bound by the arbitration clause.”);

  Comedy Club, Inc. v. Improv W. Assocs., 553 F.3d 1277, 1287 (9th Cir. 2009)




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  (“The strong public policy in favor of arbitration does not extend to those who are

  not parties to an arbitration agreement . . . .”).

         It is undisputed that Defendant was not a party to the purchase agreements.

  Defendant plainly states that it did not enter into contracts with Plaintiffs, and that

  the purchase agreements with the dealerships do not establish privity or agency.

  See, e.g., Mot. at 31. (“Plaintiffs . . . did not purchase their vehicles from—and

  therefore were not in privity with—VWGoA.”); id. at 37 (“[T]here is no basis for

  the legal conclusion that the purchase of a vehicle from a dealer constitutes a

  contract between each Plaintiff and VWGoA. . . . there can be no contract between

  a consumer and a remote manufacturer or distributor in the absence of privity. This

  is true even where a purchase is made from an authorized dealer.”). Moreover,

  Plaintiffs are not pursuing their breach of contract claim and disavow that privity

  of contract existed between Plaintiffs and Defendant. See infra at Section VIII.

         Additionally, the plain language of the purchase agreements demonstrates

  that the agreements apply to Plaintiffs and the dealerships only, and do not allow

  non-signatories like Defendant to elect arbitration. For example, Plaintiff Hosier

  entered into a purchase agreement (the “Cook VW Dealership Agreement”) with

  Cook VWGoA LLC (“Cook VW”)—not Defendant. See Cameron Decl., Ex. B.

  Cook VW describes itself in the Cook VW Dealership Agreement as “Creditor-

  Seller (sometimes “we” or “us” in this contract).” Id. The Cook VW Dealership


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  Agreement provides only Plaintiff Hosier and Cook VW with the choice to

  arbitrate claims, stating that “either you or we may choose to have any dispute

  between us decided by arbitration and not in court or by jury trial.” Id. The

  agreement further provides that disputes can be arbitrated at “your or our

  election.” Id. This is not a mandatory arbitration clause between Plaintiffs and

  Defendant; rather, it provides Plaintiff Hosier and Cook VW with the choice to

  arbitrate disputes between themselves. See Lawson v. Life of the South Insurance

  Company, 648 F.3d 1166, 1171 (11th Cir. 2011) (non-signatory not permitted to

  compel arbitration where agreements provided that “you or we” may elect

  arbitration).

         Plaintiff Ellahie’s purchase agreement is even further removed from

  Defendant. Plaintiff Ellahie did not enter into a contract with a Volkswagen/Audi

  dealership but rather a Nissan dealership. See Cameron Decl., Ex. C. Like the

  Cook VW Dealership Agreement, this contract provides that “either you or we

  may choose” to arbitrate disputes at “your or our election.” Id. Defendant cannot

  credibly argue that it can invoke a Nissan dealership’s right to arbitrate, or that by

  entering into an agreement with a Nissan dealership, Plaintiff Ellahie understood

  that it was agreeing to arbitrate potential claims against Defendant.             See

  Weingarten Realty Inv’rs v. Miller, 495 F. App’x. 418, 420 (5th Cir. 2012)

  (affirming denial of motion to compel arbitration where arbitration agreement


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  expressly stated only parties to the underlying contract could elect arbitration).

  The remaining purchase agreements, attached by Defendant, contain substantially

  similar language, limiting the arbitration clause to those Plaintiffs and the

  dealerships.5 Defendant cannot compel arbitration under any of these agreements.6

        B.     Defendant Cannot Rely on Equitable Estoppel

        Defendant also cannot compel arbitration under the principle of equitable

  estoppel. “Equitable estoppel is more properly viewed as a shield to prevent

  injustice rather than a sword to compel arbitration.” Hirsch v. Amper Fin. Servs.,

  LLC, 215 N.J. 174, 180 (2013); Mundi v. Union Sec. Life Ins. Co., 555 F.3d 1042,

  1045 (9th Cir. 2009) (“Equitable estoppel precludes a party from claiming the

  benefits of a contract while simultaneously attempting to avoid the burdens that

  contract imposes.”). This equitable theory, which courts have found “should be
  5
    See Cameron Decl., Ex. A (“Dealer and Purchaser are the sole parties to this
  Order . . .”); Ex. D. (“Either you or we may choose to have any dispute between us
  decided by arbitration . . . .”); Exs. E, G, I (same); Ex F. (“You and the dealership
  agree that arbitration will be the sole method of resolving any claim . . . that arises
  out of the Customer(s)/Dealership Dealings.”); Ex. H (“Purchaser/Lessee and
  Dealer [South Motors Suzuki] understand that they are knowingly and voluntarily
  agreeing to resolve all disputes between them by arbitration . . . .”).
  6
    Defendant claims that language in certain of the arbitration clauses directly
  incorporates third parties. See Mot. at 11 (asserting the clause covers any dispute
  which arises out of “any resulting transaction or relationship (including any such
  relationship with third parties who do not sign this contract)”). In Soto v.
  American Honda Motor Co., Inc., 946 F. Supp. 2d 949 (N.D. Cal. 2012), the court
  analyzed nearly identical language and rejected the same argument made by the
  vehicle manufacturer, finding Honda’s relationship with plaintiff began at the
  moment he bought his Accord, and thus could not be a ‘resulting’ relationship that
  occurred afterward. Id. at 955.
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  used sparingly to compel arbitration,” does not weigh in favor of compelling

  arbitration in this case. Hirsch, 215 N.J. at 179.

          Courts have permitted equitable estoppel to be invoked by a non-signatory

  only where: (1) a signatory must “rely on the terms of the written agreement in

  asserting [its] claims against the nonsignatory” (Brantley v. Republic Mortg. Ins.

  Co., 424 F.3d 392, 395-96 (4th Cir. 2005)); or (2) a signatory alleges “substantially

  interdependent and concerted misconduct by both the nonsignatory and one or

  more of the signatories to the contract.” Hawkins v. KPMG LLP, 423 F. Supp. 2d

  1038, 1050 (N.D. Cal. 2006); see also Hirsch, 215 N.J. at 179 (denying motion to

  compel arbitration where there was no express inclusion of the claims involving

  non-signatories in the arbitration provision and there was no evidence that non-

  signatories detrimentally relied on plaintiffs’ conduct). Neither exception applies

  here.

          First, Plaintiffs are not pursuing claims for breach of contract. See infra at

  Section VIII. Rather, Plaintiffs’ claims are based on Defendant’s breach of express

  and implied warranties and Defendant’s misrepresentations and omissions

  regarding the defective Timing Chain System. See Compl. ¶¶ 5, 9, 10, 12, 69, 70,

  83, 135-37, 142-43, 149, 156-57, 187, 189, 200, 225, 362. Because Plaintiffs’

  claims are not based on the purchase agreements, equitable estoppel does not

  require arbitration of those claims. See Kramer v. Toyota Motor Corp., 705 F.3d


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  1122, 1130-31 (9th Cir. 2012) (affirming denial of automobile manufacturer’s

  motion to compel arbitration under equitable estoppel where claims did not rely on

  the terms of the agreements between plaintiffs and automobile dealers); Toyota

  Hybrid Brake Litig., 828 F. Supp. 2d at 1161 (breach of implied warranty of

  merchantability and statutory consumer fraud claims are not intertwined with

  contractual obligations in purchase agreements); In re Toyota Motor Corp.

  Unintended Acceleration Mktg., Sales Practices, & Prods. Liab. Litig., 838 F.

  Supp. 2d 967, 991 (C.D. Cal. 2012) (same).

        In addition, Plaintiffs have not sued the dealerships and do not allege a

  conspiracy or “concerted misconduct” between the dealerships and Defendant. As

  such, there is no basis to allow Defendant to compel arbitration of Plaintiffs’

  claims.7 See Mundi, 555 F.3d at 1047 (equitable estoppel does not apply where


  7
    For this reason, Defendant’s cases are distinguishable. See, e.g., Ford Motor Co.
  v. Ables, 207 F. App’x 443, 448 (5th Cir. 2006) (finding arbitrability where
  signatory and non-signatory both engaged in “substantially interdependent and
  concerted misconduct”); Berger v. Accounting Fulfillment Servs. LLC, No. 16-cv-
  744, 2016 WL 3655347, at *4 (M.D. Fla. July 8, 2016) (alleging “substantially
  interdependent and concerted misconduct” between signatories and non-
  signatories); Great N. Ins. Co. v. Cornerstone Custom Home Builders, LLC, No.
  16-cv-71, 2016 U.S. Dist. LEXIS 94344, at *2 (M.D. Ga. July 20, 2016) (party
  seeking to enforce clause was signatory to contract); Elder v. BMO Harris Bank,
  No. 13-cv-3043, 2014 WL 1429334, at *1, n.5 (D. Md. Apr. 11, 2014) (allowing
  equitable estoppel where plaintiff alleged interdependent and concerted
  misconduct between signatories and non-signatories); Ahlers v. Ryland Homes
  Nev. LLC, 367 P.3d 743 (2010) (finding equitable estoppel where plaintiff sought
  to enforce specific rights rooted in option agreement containing arbitration
  provision); Agnew v. Honda Motor Co., No 08-cv-01433, 2009 WL 1813783, at
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  there are “no allegations of collusion or misconduct” between the non-signatory

  and signatory). Further, Defendant has not relied to its detriment on the purchase

  agreements that Plaintiffs entered into with the dealerships, and there is simply no

  equitable reason to allow Defendant to enforce the arbitration clauses in those

  agreements.    See Hirsch, 215 N.J. at 196 (application of equitable estoppel

  “unwarranted” where non-signatory did not show detrimental reliance).

        Lastly, Defendant’s argument that equitable estoppel applies because

  Plaintiffs would not have claims against Defendant “but for” their purchase of the

  Class Vehicles has been repeatedly rejected by courts.8 Defendant’s request to

  compel arbitration should be denied.




  *4-5 (S.D. Ind. May 20, 2009) (finding equitable estoppel under Indiana law where
  plaintiff alleged concerted misconduct with manufacturer). In addition, as
  recognized by Soto v. Am. Honda Motor Co., No. 12-cv-01377, 2012 WL
  5877476, at *2-3 (N.D. Cal. Nov. 20, 2012), Mance v. Mercedes-Benz USA, 901 F.
  Supp. 2d 1147 (N.D. Cal. 2012) is an outlier that failed to examine similar, more
  persuasive cases.
  8
    See, e.g., Toyota Unintended Acceleration Litig., 838 F. Supp. 2d at 993 (“A mere
  ‘but for’ test does not supply the ‘intimately . . . intertwined’ relationship upon
  which equitable estoppel is dependent.”); Brantley, 424 F.3d at 396 (holding
  equitable estoppel did not apply because “the mere existence of a loan transaction
  requiring plaintiffs to obtain [credit] insurance cannot be the basis for finding their
  . . . claims, which are wholly unrelated to the underlying [credit] agreement, to be
  intertwined with that contract”); Lawson, 648 F.3d at 1174 (same).
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  III.   DEFENDANT’S CHOICE OF LAW ARGUMENT FAILS

         A.    Defendant’s Choice of Law Analysis Is Procedurally Premature
         Defendant makes the conclusory and unsupported assertion that “variations

  and conflicts among common law doctrines and warranty laws as well as consumer

  fraud statutes exist among the various states” which necessitates that each

  Plaintiff’s home state law governs each Plaintiff’s claims. Mot. at 16. Choice of

  law analyses have routinely been found to be premature at the motion to dismiss

  phase in class cases, particularly where discovery is needed to further develop facts

  relevant to the analysis. See, e.g., Prudential Ins. Co. of Am. v. Goldman, Sachs &

  Co., No. 12-cv-6590, 2013 WL 1431680, at *5 (D.N.J. Apr. 9, 2013) (choice of

  law analysis at motion to dismiss premature); In re Samsung DLP Television Class

  Action Litig., No. 07-cv-2141, 2009 WL 3584352, at *3 (D.N.J. Oct. 27, 2009)

  (same); In re Mercedes-Benz Tele Aid Contract Litig., 257 F.R.D. 46, 55 (D.N.J.

  2009) (same).9 Here, Defendant fails to cite any authority for the proposition that a

  choice of law analysis is proper at this early stage and fails to conduct any analysis

  showing which state’s laws should apply to the different claims. For this reason


  9
    See also, e.g., Maniscalco v. Brother Int’l (USA) Corp., 709 F.3d 202, 206-07 (3d
  Cir. 2013) (undertaking a choice of law analysis at the summary judgment stage);
  Arcand v. Brother Int’l Corp., 673 F. Supp. 2d 282, 295 (D.N.J. 2009) (the “most
  significant relationship” test requires a fact-sensitive analysis that cannot be
  undertaken on the record consisting solely of a complaint and motion to dismiss);
  In re K-Dur Antitrust Litig., 338 F. Supp. 2d 517, 541 (D.N.J. 2010) (choice of law
  analysis on motion to dismiss premature).

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  alone, Defendant’s argument that the laws of each Plaintiff’s home state should

  govern is premature. Id.

           B.    A Choice-of-Law Analysis Favors Application of New Jersey Law
           “A federal court exercising jurisdiction pursuant to 28 U.S.C. § 1332 must

  apply the choice of law rules of the forum state to determine the law that will

  govern the substantive issues of a case.” Id. at 55 (citing Klaxon Co. v. Stentor

  Elec. Mfg. Co., 313 U.S. 487 496 (1941)). Here, New Jersey uses the “most

  significant relationship” test. Id. at 58. Under the terms of the “most significant

  relationship” test, the first step is to determine whether a conflict exists between

  the laws of the various states. If no conflicts exist, the court will apply the law of

  the forum state, in this case New Jersey. Id. If a conflict does exist, the court must

  weigh the factors contained in the Restatements and determine which state has “the

  most significant relationship” to each issue in the case. P.V. ex rel. T.V. v. Camp

  Jaycee, 197 N.J. 132, 136 (2008).

           Notably, Defendant provides no explanation for how the Plaintiffs’

  common-law claims10 conflict among their home states, but summarily concludes

  that “variations and conflicts among common law doctrines and warranty laws as

  well as the consumer fraud statutes exist among the various states.” Mot. at 16.

  Absent any proof of a real conflict among states, particularly with respect to


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       Plaintiffs plead the statutory consumer fraud claims only for their home states.

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  Plaintiffs’ common law claims, the law of New Jersey should govern.

  Nevertheless, to the extent that Defendant advances arguments based on individual

  state laws, Plaintiffs address such arguments below.

  IV.   DEFENDANT’S “LUMPING” ARGUMENT IS MERITLESS
        Defendant argues that Plaintiffs’ complaint “requires” dismissal under Rules

  8 and 9(b) because Plaintiffs’ use of the collective term “Defendants” fails to put

  Defendant on notice of its wrongdoing.        Mot. at 17.    To the contrary, the

  Complaint carefully distinguishes between the various Defendants, leaving no

  confusion as to their respective roles and functions. As set forth in the Complaint,

  Defendant VWGoA is headquartered in the United States, where it “engages in . . .

  the advertising, marketing and sale of VW automobiles nationwide.” Compl. ¶ 74.

  Audi America, headquartered in the United States, likewise “engages in . . . the

  advertising, marketing and sale of Audi Automobiles nationwide.” Id. ¶ 76. Audi

  AG, headquartered in Germany, designs and manufactures Audi automobiles, and

  is the parent company of Audi America. Id. ¶ 75. VW AG, which is the parent

  corporation to VWGoA and Audi AG, is headquartered in Wolfsburg, Germany,

  where it designs, develops and manufactures VW automobiles.              Id. ¶ 73.

  Importantly, as the Complaint notes, “at all relevant times, [VWGoA] and Audi

  America acted as authorized agents, representatives, servants, employees and/or

  alter egos of VW AG and Audi AG while performing activities including but not


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  limited to advertising, warranties, warranty repairs, dissemination of technical

  information and monitoring the performance of VW and Audi vehicles in the

  United States.” Compl. ¶ 77. Thus, the notion that Plaintiffs’ Complaint fails to

  differentiate between Defendants is false.

        Further, to the extent Plaintiffs assert common allegations as to the

  Volkswagen and Audi Defendants, this is because these entities are joined through

  the same corporate structure and act as agents and/or alter egos of each other. Id.

  Volkswagen itself refers to its companies and its brands as one, using the

  “Volkswagen Group” name.11 Courts recognize that allegations of corporate fraud,

  such as those at issue here, “require[ ] . . . a relaxed pleading standard when

  ‘specific information . . .   is exclusively within a defendant’s knowledge or

  control.’” Weske v. Samsung Elecs., Am., Inc., 934 F. Supp. 2d 698, 708 (D.N.J.

  2013) (citing Craftmatic Sec. Litig. v. Kraftsow, 890 F.2d 628, 645 (3d Cir. 1989)).

  Matters such as “which” of the related Defendants knew about the defect, and

  “when” a Defendant acquired such knowledge, “may be alleged generally,” even

  under Rule 9(b)’s heightened pleading standards.        See FED. R. CIV. P. 9(b)

  (“Malice, intent, knowledge, and other conditions of a person’s mind may be

  alleged generally.”).   To avoid rewarding successfully concealed fraudulent
  11
    For example, on its website, Volkswagen AG states, “[t]he Group comprises
  twelve brands from seven European Countries: [including] Volkswagen [and]
  Audi.” See Volkswagen AG website, http://www.volkswagenag.com/en/
  group.html (last visited Feb. 6, 2017).

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  activity, this principle is especially applicable where, as here, information is under

  the exclusive control of the defendant. Katz v. Household Int’l, Inc., 91 F.3d 1036,

  1040 (7th Cir. 1996) (“Rule 9(b) does not require plaintiffs to plead facts to which

  they lack access prior to discovery.”).

        Finally, the two cases upon which Defendant relies are inapplicable to the

  facts presented here. In Galicki v. New Jersey, No. 14-cv-169-JLL, 2015 WL

  3970297 (D.N.J. June 29, 2015) (Linares, J.), certain claims were dismissed for

  “failing to put the [d]efendants on notice of their own alleged wrongdoing” but the

  dismissal was based in large part on the plaintiffs’ “conclusory and … formulaic

  recitation of the elements of [p]laintiffs’ various claims.” Id. at *2-3. Here,

  Defendant offers no explanation of how the use of the term “Defendants” creates

  any confusion or leaves any doubt as to the nature of the allegations, and instead

  asserts that “lumping” alone warrants dismissal.

        Further, in Galicki, the “lumping” of the defendants was exacerbated by the

  fact that the defendants were a diverse group, including “a not-for-profit, two

  governmental entities and several individuals.”      Id.   Given the dissimilarities

  among those defendants, greater specificity was required to put them on notice. In

  contrast, the four Defendants here are affiliated entities, consisting of the North

  American sellers of specific automobiles and their parent corporations (for whom




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  the sellers act as agents). Their roles are specifically defined in the Complaint.

  Compl. ¶¶ 73-78.

        Defendant’s reliance on MDNet, Inc. v. Pharmacia Corp., 147 F. App’x 239

  (3d Cir. 2005) is similarly unavailing. While the court in MDNet noted that the

  plaintiff had “failed to specify the defendant or agent making the alleged

  fraudulent statement[,]” the plaintiff’s fraudulent misrepresentation claim was not

  dismissed on that ground. Id. at 243-45.12 Rather, the court based its dismissal of

  the fraud claim on plaintiff’s failure to allege justifiable reliance. Id. MDNet

  simply does not support dismissal based on Defendant’s “lumping” argument.

  Defendant makes no showing how Plaintiffs’ allegations leave it unable to defend

  against the alleged misconduct or prepare an adequate answer to the allegations.

  V.    PLAINTIFFS PLEAD VIABLE EXPRESS WARRANTY CLAIMS

        Plaintiffs plead sufficient facts to establish that Defendant’s warranty covers

  the defect at issue, that the defect manifests during the warranty period, that the

  warranty period is unconscionable, and that Defendant has long known of the

  defect. Contrary to what Defendant suggests, Plaintiffs need not allege complete

  breakdown or total engine failure during the warranty period to recover. 13


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     In contrast to MDNet, Plaintiffs identify with particularity the sources of the
  affirmative misrepresentations alleged in the Complaint. See, e.g., Compl. ¶¶ 8-10,
  83, 94, 135-37, 142-43, 149, 156-57.
  13
     Express warranty laws are similar nationwide and therefore New Jersey law
  should apply. See, e.g., Dewey v. Volkswagen of Am., 728 F. Supp. 2d 546, 569
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        A.     Defendant’s Warranty Limitations Are Unconscionable
        One way Plaintiffs may avoid durational limits on Defendant’s warranty is

  by alleging facts sufficient to show that the warranty is unconscionable. Skeen v.

  BMW of N. Am., LLC, 2014 WL 283628, at *12 (D.N.J. Jan. 24, 2014) (listing

  cases).    Unconscionability may be either “substantive” or “procedural.”         Id.

  “[C]ourts will find a contract term to be substantively unconscionable if the term is

  excessively disproportionate, involving an exchange of obligations so one-sided as

  to shock the court’s conscience.” Id. “[P]rocedural unconscionability focuses on

  the circumstances of the negotiation that produced the contested term, especially

  the personal qualities of the negotiators.”         Id.    Courts find procedural

  unconscionability where the plaintiffs had “no meaningful choice” in a warranty

  negotiation characterized by “a gross disparity in bargaining power.” Id. (quoting

  Henderson v. Volvo Cars of North America, LLC, No. 09-cv-4146, 2010 WL

  2925913, *9 n.6 (D.N.J. Jul. 21, 2010).        “[U[nconscionability is highly fact

  dependent and so is not appropriate for determination on a motion to dismiss.” Id.

  at *15.

        Unlike the cases cited by Defendant, Plaintiffs do not simply allege that

  Defendant knew that a part would ultimately fail after the expiration of a warranty



  (D.N.J. 2010) (citing In re Ford Motor Co. E–350 Van Prods. Liab. Litig. (No. II),
  No. 03-cv-4558, slip op. at 10 (D.N.J. Sept. 3, 2008)).

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  period; rather, Plaintiffs also allege that they had no meaningful choice in the

  warranty negotiation and that there existed a gross disparity in bargaining power:

        •     Defendants were well aware of the existence of the defective Timing
              Chain System—both prior to putting the vehicles on the market and
              shortly thereafter—but failed to disclose it. See, e.g., Compl. ¶¶ 2, 5,
              11, 110, 256.

        •     The defective Timing Chain System manifests during and shortly after
              the warranty period—and well before the end of the Class Vehicles’
              useful lives. See, e.g., id. ¶¶ 5, 33, 94, 110, 139-41, 144, 150, 248.

        •     Defendants possessed superior knowledge of the defect. See, e.g., id.
              ¶¶ 11, 107, 110, 122.

        •     Plaintiffs and Class members had no meaningful choice in
              determining the time and mileage limitations in the warranties. See,
              e.g., id. ¶ 162.

        •     The warranties were drafted by Defendants without input from
              Plaintiffs, the terms unreasonably favored Defendants, a gross
              disparity in bargaining power existed, and Defendants knew that the
              Class Vehicles were defective at the time of sale. See, e.g., id. ¶¶ 162,
              165-72, 256.
  Accordingly,    Plaintiffs   have   alleged   both   substantive   and   procedural

  unconscionably.

        The Court’s decision in Henderson v. Volvo Cars of North America, LLC,

  No. 09-cv-4146, 2010 WL 2925913 (D.N.J. Jul. 21, 2010) is directly on point. In

  Henderson, the plaintiffs alleged that defective transmissions in certain Volvo

  vehicles did not become apparent until shortly after Volvo’s 4 year/50,000-mile

  express warranty period had elapsed. Id. at *2-3. Although the Court recognized

  the general rule that limited warranties do not cover repairs made after the
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  warranty period,14 the Court upheld the plaintiffs’ breach of warranty claims where

  the plaintiff’s allegations of Defendant’s knowledge about the defect were

  buttressed by allegations that the plaintiffs had “no meaningful choice” in a

  warranty negotiation characterized by “a gross disparity in bargaining power.” Id.,

  at *9 n. 6. See also Skeen, 2014 WL 283628, at *14 (recognizing split, but finding

  “Henderson has the better argument” because “[i]t is not conclusory to state that a

  consumer purchasing a car has less bargaining power than the manufacturer and

  that he had no meaningful choice in setting the terms of the warranty”); In re

  Samsung DLP Television Class Action Litig., 2009 WL 3584352, at *4-6 (D.N.J.

  Oct. 27, 2009) (finding warranty unconscionable); Payne v. Fujifilm U.S.A., Inc.,

  No. 07-cv-385, 2007 WL 4591281, at *3-4 (D.N.J. Dec. 28, 2007) (same).

  Tellingly, Defendant ignores this Court’s decisions in Henderson, Skeen, In re

  Samsung DLP, and Payne.

        The cases that Defendant does cite fail to support its position. For example,

  the courts in Duquesne Light Co. v. Westinghouse Elec. Corp., 66 F.3d 604 (3d

  Cir. 1995) and Abraham v. Volkswagen of Am., Inc., 795 F.2d 238 (2d Cir. 1986)

  did not expressly address an argument that the applicable warranties in those cases

  were unconscionable and do not stand for the principle that a breach of warranty

  14
     Citing Duquesne Light Co. v. Westinghouse Elec. Corp., 66 F.3d 604 (3d Cir.
  1995); Abraham v. Volkswagen of Am., Inc., 795 F.2d 238 (2d Cir. 1986); Dewey
  v. Volkswagen AG, 558 F. Supp. 2d 505, 519 (D.N.J. 2008).

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  claim could never be viable where the defect manifests beyond the warranty

  period.15 Similarly, in Alban v. BMW of North America, LLC, No. 09-cv-5398,

  2011 WL 900114 (D.N.J. Mar. 15, 2011), the plaintiff summarily alleged that the

  vehicle’s 4 year/50,000-mile warranty was “an unconscionably brief period.” Id.

  at *9. The Court found such “bare-bones allegations” insufficient to establish that

  the warranty was unconscionable.

        B.    Complete Failure During the Warranty Period is Not Required

        Additionally, as the Court recognized in Nelson v. Nissan N. Am., Inc., 894

  F. Supp. 2d 558, 564-65 (D.N.J. 2012), automobile owners can assert breach of

  warranty claims after the expiration of the warranty period where their vehicles

  exhibit signs of the defect during the warranty period and the seller allegedly knew

  of the defect but failed to disclose it. In Nelson, the Court upheld the plaintiffs’

  express warranty claims after the warranty period had elapsed because the

  plaintiffs alleged that defendant Nissan knew of the defect at the time of sale and

  the plaintiffs “allegedly experienced symptoms of the defect during the warranty

  period.” Nelson, 894 F. Supp. 2d at 56. Like the plaintiffs in Nelson, Plaintiffs

  here allege that their vehicles began to exhibit symptoms of the defective Timing

  Chain System during the warranty period (see, e.g., Compl. ¶¶ 139, 248) and that
  15
    See Bussian v. DaimlerChrysler Corp., 411 F. Supp. 2d 614, 621 (M.D.N.C.
  2005) (“Plaintiff has framed his express warranty claim in the more narrow theory
  that the durational limitation in his Durango’s express warranty is unconscionable,
  an issue which was not addressed in Abraham.”).

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  Defendant had knowledge of the defect prior to and during that time. Id. ¶¶ 2, 5,

  11, 33, 110, 140-41, 150, 256.     Accordingly, Plaintiffs have sufficiently pled

  express warranty claims.

        C.    The Timing Chain System Defect is Covered Under Defendant’s
              Warranties

        Defendant also tries to evade liability for the Timing Chain System Defect

  by arguing that Plaintiffs have only alleged a design defect not covered under

  Defendant’s warranties, as opposed to a defect in material and workmanship.

  Defendant’s argument is unavailing for several reasons.

        First, several courts have held that there is no distinction between a design

  defect and a defect in workmanship. For example, in Koulajian v. Trek Bicycle

  Corp., No. 90-cv-3156, 1992 WL 28884 (S.D.N.Y. Feb. 11, 1992), moved for

  summary judgment on the warranty claim, arguing that the express warranty

  applies only to manufacturing defects, not design defects. Id. The court rejected

  the argument, reasoning that “the warranty’s reference to ‘workmanship’ could

  refer to [ ] design as well as implementation of those designs in the manufacturing

  process.” Id. Thus, the Court held that “[a]bsent binding authority limiting an

  express ‘workmanship’ warranty to manufacturing defects alone, we do not find as

  a matter of law that such warranty language cannot apply to design defects.” Id at

  *2.



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        Similarly, in In re Saturn L-Series Timing Chain Prods. Liab. Litig., MDL

  No. 1920, 2008 WL 4866604, at *14 (D. Neb. Nov. 7, 2008), the court found that

  “a defect related to materials and workmanship” and a “design defect” involving

  the timing chain system are substantially the same. The court reasoned that a

  “design is integrated into each step of the manufacturing process and affects both

  materials and workmanship,” such that distinguishing a design defect from a defect

  in materials or workmanship “would defy logic.” Id. at *15. The Court concluded:

               [I]t would be absurd to interpret a car company’s written
               warranty as not covering any defect in ‘materials and
               workmanship’ if the defect could simultaneously be
               attributable to a design implemented by the company in
               the manufacturing of the car.

  Id. (emphasis in original). See also Tzung v. State Farm Fire & Cas. Co., 873 F.2d

  1338, 1341 (9th Cir. 1989) (“[w]e believe [] that an unstrained interpretation of the

  exclusion for ‘faulty workmanship’ includes losses caused by defects in the design

  and construction of a building.”).16 Similarly, permitting Defendant to take such a

  position would be illogical and simply allow Defendant, and every other product

  manufacturer, to link any defect to the “design” of the product, thereby rendering

  unenforceable any express warranty that covers defects in material and

  workmanship.
  16
    Plaintiffs acknowledge that certain cases have held that a design defect is not
  covered under a warranty limited to defects in material and/or workmanship.
  Respectfully, Plaintiffs believe the reasoning in those cases is unpersuasive and
  would lead to warranties that would, in effect, not cover anything.

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        Second, even if design defects and material and/or workmanship defects are

  considered distinct, Plaintiffs have adequately alleged that the defect in the Timing

  Chain System is a defect in material and/or workmanship and therefore covered

  under applicable warranties. See, e.g., Compl. ¶¶ 108, 201, 251-53. In fact,

  Plaintiffs describe the defective Timing Chain System in great detail, including

  how the internal spring and ratchet pawl (materials) within the tensioner break

  and/or fail, causing the piston to stop exerting the necessary pressure on the timing

  chain. Id. ¶¶ 94-100. Plaintiffs also explain how the material used in the ratchet

  pawl—sintered metal—is defective and fails over time. Id. ¶¶ 126-29. These

  allegations are more than sufficient at the pleading stage to allege a defect in

  material and/or workmanship covered under the applicable warranties.

        Third, whether or not the defective Timing Chain System should be covered

  under warranty is a question of fact that cannot be decided at the pleading stage. In

  fact, faced with the same argument made by another vehicle manufacturer, Judge

  Hayden determined that a distinction between defects in design and

  materials/workmanship could not be decided on the pleadings:

               At the pleading stage, where the distinction between
               defect in design and defect in materials or workmanship
               is a matter of semantics, and sufficient facts are alleged
               to assert both, the defendant’s characterization of the
               nature of the claim pre-discovery should not control
               whether the complaint survives.



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  Alin v. Am. Honda Motor Co., No. 08-cv-4825, 2010 WL 1372308, at *6 (D.N.J.

  Mar. 31, 2010); see also Cox v. Chrysler Grp., LLC, No. 14-cv-7573, 2015 WL

  5771400, at *6 (D.N.J. Sept. 30, 2015) (same); Haag v. Hyundai Motor Am., 969

  F. Supp. 2d 313, 316 (W.D.N.Y. 2013) (same).

        Fourth, assuming arguendo that the defective Timing Chain System is a

  design defect which would not be covered by the warranty, Defendant’s limitation

  of its warranty to defects of material or workmanship would cause the warranty to

  fail of its essential purpose. A limited contractual remedy fails of its essential

  purpose if it fails to give the aggrieved party the benefit of their bargain. Viking

  Yacht Co., Inc. v. Composite One, LLC, 385 F. App’x 195, 208 (3d Cir. 2010). If a

  limited remedy fails of its essential purpose, then the aggrieved party may have

  any appropriate remedies available under the UCC. See UCC § 2-719(2).

        Consumers purchasing an automobile from Defendant reasonably expect

  that the vehicle be free of material defects—whether of materials, workmanship or

  design. The purpose of Defendant’s warranty is to give consumers what they paid

  for – if a vehicle fails, Defendant will repair it under the warranty. However, if

  Defendant’s warranty is read to exclude design defects, then it fails of its essential

  purpose because consumers do not get what they paid for, i.e., a defect-free

  automobile. If Defendant deems the defect in the Timing Chain System to be a

  “design defect” not covered under warranty, then consumers are left with defective


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  automobiles and no remedy. In that scenario, Defendant’s limited warranty fails to

  give consumers the benefit of their bargain. That is the exact situation that Section

  2-719(2) was intended to address: “where an apparently fair and reasonable clause

  because of circumstances fails in its purpose or operates to deprive either party of

  the substantial value of the bargain, it must give way to the general remedies of

  this Article.” UCC 2-719 Official Comment 1. Thus, if Defendant’s written

  warranty can be construed as it proposes, to exclude design defects, then it fails of

  its essential purpose, and Plaintiffs and other Class members are entitled to their

  remedies under UCC Sections 2-714 and 2-715.

        D.     Defendant’s     Arguments         Regarding   Pre-Suit   Notice    Are
               Unavailing

        Defendant asserts that Plaintiffs have failed to comply with the alleged

  requirement that Defendant be placed on notice of the breach of warranty prior to

  Plaintiffs filing suit. In making this argument, Defendant misstates the law and

  conceals relevant facts from the Court.

               1.    Plaintiffs are not Required to Provide Notice to Defendant

        Defendant contends that all of the Plaintiffs’ breach of warranty claims,

  except for plaintiff Mody who resides in Kansas, must be dismissed because the

  remaining Plaintiffs from twenty (20) states failed to give the requisite notice

  under the UCC. Defendant is misstating the law. UCC Section 2-607 requires that

  a buyer give notice to the seller within a reasonable time after the buyer discovered
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  a breach of warranty or “be barred from any remedy.” This rule, however, is

  applied differently, if at all, with respect to claims against a remote manufacturer,

  such as Defendant, as opposed to a direct seller.

        Plaintiffs are not required to provide any pre-suit notice to remote

  manufacturers/sellers. In Strzakowlski v. Gen. Motors Corp., No. 04-cv-4740,

  2005 WL 2001912 (D.N.J. Aug. 16, 2005), the court observed that “[t]his Court

  has previously predicted that the New Jersey Supreme Court would not require

  notice under section 2-607(3)(a) in a case against a remote manufacturer who was

  not the immediate seller of a defective product.” Id. at *3, n.6. Further, “even if

  section 2-607(3)(a) requires notice to a remote manufacturer, such a requirement

  could be satisfied by the filing of a complaint.” Id. at *3. California, Florida,

  Georgia, Michigan, New Jersey, New York, Ohio, Pennsylvania, and Washington

  apply the same rule, that either no notice to a manufacturer is required or,

  alternatively, the filing of the complaint satisfies the notice requirement.17 Under


  17
    See In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales Practices &
  Prods. Liab. Litig., 754 F. Supp. 2d 1145, 1180 (C.D. Cal. 2010) (under California
  law, pre-suit notice excused with respect to remote manufacturer with whom
  consumer did not deal); Strazakowlski v. Gen. Motors Corp., No. 04-cv-4740, 2005
  WL 2001912, at *3 (D.N.J. Aug. 16, 2005) (New Jersey does not require notice to
  remote manufacturer and, if it did, filing complaint would satisfy notice); In re
  MyFord Touch Consumer Litig.¸46 F. Supp. 3d at 974-979 (surveying states: in
  Florida, notice not required to manufacturer; in Ohio and Pennsylvania, complaint
  satisfies notice); In re Bridgestone/Firestone, Inc. Tires Prods. Liab. Litig.¸155 F.
  Supp. 2d 1069, 1099-1100 (S.D. Ind. 2001) (surveying cases: in Pennsylvania,
  Michigan, New York, and Georgia, complaint satisfies notice requirement); Cats v.
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  the laws of Illinois, Indiana, and Minnesota, the notice requirement is satisfied if,

  as here, the manufacturer is aware of the problem with the goods. In re Rust-

  Oleum Restore Mktg., Sales Practices & Prods. Liab. Litig., 155 F. Supp. 3d 772,

  799-800 (N.D. Ill. 2016) (Ill. law); Anderson v. Gulf Stream Coach, Inc., 662 F.3d

  775, 782 (7th Cir. 2011) (Ind. law); Church of the Nativity of Our Lord v. Watpro,

  Inc., 491 N.W.2d 1, 5 (Minn. 1992).

               2.    Though Not Required, Plaintiffs Provided Pre-Suit Notice

        Moreover, to the extent any notice requirement applies, Plaintiffs have

  satisfied it. Defendant knows full well that at least three pre-suit notice letters

  were sent to Defendant (dated April 25, 2016, June 24, 2016 and August 29, 2016)

  on behalf of all “residents of the United States who are owners, former owners or

  lessees or former lessees of the referenced class vehicles who may be consolidated

  in a class action residing in states requiring pre-suit demand letters prior to

  commencing litigation for warranty breaches or deceptive and unfair business

  practices.” See Exhibits A, B, C to the Declaration of James E. Cecchi (“Cecchi

  Decl.”) filed contemporaneously with this brief.       These letters explained the

  defective Timing Chain System and alleged that “Volkswagen of Group America,

  Inc. (‘VWGoA’) and its divisions, including Audi of America, Inc. and


  Monaco RV, LLC, No. 15-cv-1585, 2016 WL 5253204, at *4 (W.D. Wash. Sept.
  22, 2016) (Washington does not require notice to remote sellers, and, if required,
  taking vehicle to dealer for repair satisfied notice).

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  Volkswagen of America, Inc., together with Volkswagenwerk Aktiengesellschaft

  (hereinafter ‘VW AG’), Audi Aktiengesellschaft (hereinafter ‘Audi AG’) breached

  express and implied warranties of merchantability and fitness for a particular

  purpose with respect to class vehicles.” Id. The letters demanded that Defendant

  repair the defective Timing Chain System on all Class Vehicles free of charge (and

  provide other relief) “within thirty (30) days (60 days in Texas) of receipt of the

  notice,” or Plaintiffs would “seek monetary and remedial damages, as well as such

  other remedies afforded to consumers by statutes applicable here.” Id. Despite

  having been served with multiple pre-suit notices, Defendant failed to cure its

  breach of warranty.18

        E.    Plaintiffs Sufficiently Allege Reliance On Defendant’s Express
              Warranties

        Defendant next argues that 10 of the 36 Plaintiffs fail to allege that they

  purchased their vehicles from authorized dealers and therefore have not properly

  pled that Defendant’s express warranties were part of the “basis of the bargain.”

  Defendant is incorrect.

        Plaintiffs have specifically pled that under the warranties provided to

  members of the Classes, Defendant promised to repair or replace covered defective
  18
     Several courts also have held that even where pre-suit notice is required, such
  notice is satisfied by presenting a vehicle to an authorized dealer for repair. See,
  e.g., Luppino v. Mercedes-Benz USA, LLC, No. 09-cv-5582, 2011 WL 2470625, at
  *3 (D.N.J. June 20, 2011). Plaintiffs have complied with that requirement. See,
  e.g., Compl. ¶¶ 20, 33, 58, 61, 64.

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  engine components arising out of defects in materials and/or workmanship,

  including the Timing Chain System, at no cost to owners and lessees of the Class

  Vehicles.   Compl. ¶ 246.         Plaintiffs also allege that “Defendants’ warranties

  formed a basis of the bargain that was reached when Plaintiffs and members of the

  Classes purchased or leased their Class Vehicles.” Id. ¶ 247. In other words,

  Plaintiffs expected that if Defendant discovered a defect in material or

  workmanship in the Class Vehicles during the warranty period – and Plaintiffs

  have demonstrated that Defendant was aware of this defect before these vehicles

  were sold – the defect would be repaired free of charge. Id. That is all that is

  required at the pleading stage.

        F.     Plaintiffs’ Express Warranty Claims Are Timely

        Defendant asserts that the express warranty claims of certain Plaintiffs are

  time barred because Connecticut, New York, Ohio and Texas impose a four-year

  statute of limitations on warranty claims, running from the date of delivery.

  However, New Jersey’s statute of limitations should apply to all Plaintiffs’ breach

  of warranty claims. See McCarrell v. Hoffmann–La Roche, Inc., No. 076524, 2017

  WL 344449, at *13 (N.J. Jan. 24, 2017) (relying on Restatement (Second) of

  Conflicts of Laws § 142 and holding that New Jersey’s statute of limitations and




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  tolling rules should apply to claims against New Jersey-based manufacturer in

  defective products case).19

        Further, Plaintiffs’ warranty claims are not time-barred as they properly

  allege grounds for equitable tolling. See In re Ford Motor Co. E-350 Van Prods.

  Liab. Litig. (No. II), No. 03-cv-4558, 2008 WL 4126264, at *17 (D.N.J. Sept. 2,

  2008); Simpson v. Widger, 311 N.J. Super. 379, 390 (App. Div. 1998) (“[T]he

  presence of fraud may toll the running of the statute” for breach of warranty

  claims). To plead fraudulent concealment three elements must be alleged: (1)

  wrongful concealment by the party raising the statute of limitations defense,

  resulting in (2) plaintiff’s failure to discover the operative facts forming the basis

  of his or her cause of action during the limitations period (3) despite the exercise of

  due diligence. Dewey, 558 F. Supp. 2d at 523. Here, Plaintiffs plainly plead all

  three elements of fraudulent concealment. See, e.g., Compl. ¶¶ 2, 5, 10-12, 14,

  106-10, 144-60, 195-202. Such allegations are sufficient to toll the statute of

  limitations.   In re Ford Motor Co. E-350 Van Prods. Liab. Litig., 2008 WL

  4126264, at *18.



  19
    In any event, Connecticut, New York, Ohio and Texas provide for tolling based
  on Plaintiffs’ allegations. See Gaiolini v. Hewitt, No. 085016792, 2009 WL
  2782217, at *1 (Conn. Super. Ct. July 24, 2009); De Sole v. Knoedler Gallery,
  LLC, 137 F. Supp. 3d 387, 428 (S.D.N.Y. 2015); Ohio Rev. Code § 1302.98;
  Bilinsco Inc. v. Harris Cty. Appraisal Dist., 321 S.W.3d 648, 654 (Tex. App.
  2010).
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  VI.   THE IMPLIED WARRANTY OF MERCHANTABILITY WAS
        BREACHED

        The implied warranty of merchantability arises by operation of law and

  provides that “the product at issue must have been defective or not fit for the

  ordinary purpose for which it was intended.” Arlandson v. Hartz Mountain Corp.,

  792 F. Supp. 2d 691, 705 (D.N.J. 2011); Mocek v. Alfa Leisure, Inc., 114 Cal. App.

  4th 402, 406 (Cal. App. 4th Dist. 2003) (“a breach of the implied warranty of

  merchantability means the product did not possess even the most basic degree of

  fitness of ordinary use.”); see also Pearson v. DaimlerChrysler Corp., 813 N.E.2d

  230, 238-39 (Ill. App. 1st Dist. 2004). In the case of automobiles, the ordinary

  purpose of driving implies that the vehicle should be in a safe condition and

  substantially free of defects. See, e.g., Oggi Trattoria & Caffe, Ltd. v. Isuzu

  Motors Am., Inc., 865 N.E.2d 334, 340-41 (Ill. App. 1st Dist. 2007) (citing

  Pearson, id.); Tellinghuisen v. Chrysler Grp., No. 13-cv-2194, 2014 WL 4289014,

  at *3 (Minn. Ct. App. Sept. 2, 2014) (“a vehicle is merchantable if it provides safe,

  reliable transportation.”); Thomas v. Ford Motor Co., No. 13-cv-01417, 2014 WL

  1315014, at *4 (D.S.C. Mar. 31, 2014) (“In the vehicle context, the implied

  warranty of merchantability a guarantee that vehicles will operate in a safe

  condition and substantially free of defects”); Haag v. Hyundai Motor Am., 969 F.

  Supp. 2d 313, 317 (W.D.N.Y. 2013) (holding that where “plaintiff makes no

  allegation that her brakes posed any danger,” plaintiff may not recover for breach
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  of implied warranty of merchantability); Greene v. BMW of North Am., No. 11-cv-

  04220, 2013 WL 5287314, at *2 (D.N.J. Sept. 17, 2013) (“In the context of a car,

  this warranty is satisfied when the vehicle provides safe and reliable

  transportation.”).

        The implied warranty of merchantability requires more than simply that the

  car can drive. Islip v. Mercedes-Benz USA LLC, 155 Cal. App. 4th 19, 27 (Cal.

  App. 2nd Dist 2007) (“We reject the notion that merely because a vehicle provides

  transportation from point A to point B, it necessarily does not violate the implied

  warranty of merchantability. A vehicle that smells, lurches, clanks, and emits

  smoke over an extended period of time is not fit for its intended purpose.”).

        A defect that can cause the car to cease to function or create a safety hazard

  will breach the implied warranty of merchantability.       See, e.g., Cholakyan v.

  Mercedes-Benz USA, LLC, 796 F. Supp. 2d 1200, 1243-44 (C.D. Cal. 2011) (water

  leak that could cause catastrophic engine or electrical system failure breached

  implied warranty of merchantability); Brand v. Hyundai Motor Am., 226 Cal. App.

  4th 1538, 1547-48 (Cal. App. 4th Dist. 2014) (sunroofs that opened on its own

  breached warranty of merchantability because they created safety hazard); In re

  Ford Motor Co. Ignition Switch Prods. Liab. Litig., No. 96-cv-3125, 2001 WL

  1266317, at *11 (D.N.J. Sept. 30, 1997).




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        In the instant case, if the Class Vehicles contain a defective Timing Chain

  System, as Plaintiffs allege, then the Defendant has breached the implied warranty

  of merchantability. When the timing chain tensioner fails, it affects the timing of

  the opening and closing of the engine valves, causing the pistons to bend or break

  the valves, which causes the engine to not run. Compl. ¶¶ 4, 92. In simple terms, if

  the engine will not run, the vehicle will not provide basic transportation; it ceases

  to function and will not function until and unless the valves or the entire engine is

  replaced at a cost of thousands of dollars.

        The fact that the defect took some amount of time to manifest and that

  Plaintiffs were able to use their vehicles during that time does not ipso facto mean

  that the Class Vehicles were merchantable. See Doll v. Ford Motor Co., 814 F.

  Supp. 2d 526, 545 (D. Md. 2011) (finding that plaintiffs adequately stated claim

  that vehicles were unmerchantable where torque converter and transmission failed

  after 98,000 miles); Hornberger v. Gen. Motors Corp., 929 F. Supp. 884, 888

  (E.D. Pa. 1996) (questions of fact as to whether transmission failure after 40,000

  miles made car unmerchantable). Although a consumer might reasonably expect

  to perform some repair to a vehicle’s engine over the life of the vehicle, the

  consumer would not expect the entire engine to fail and have to be replaced,

  particularly for a part, such as a Timing Chain System, where Defendant represents

  that it will not need service. See In re Saturn L-Series Timing Chain Prods. Liab.


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  Litig., 2008 WL 4866604, at *9-13 (denying motion to dismiss breach of implied

  warranty claim where plaintiffs alleged defective timing chain system).

         A.     Lack of Privity Does Not Preclude Plaintiffs’ Implied Warranty
                Claims

         Volkswagen contends that the claims of Plaintiffs from California,

  Connecticut, Florida, Georgia, Illinois, Michigan, Nevada, New York, North

  Carolina, Ohio and Washington should be dismissed because those states require

  vertical privity to assert claims for breach of implied warranty and, since the

  Plaintiffs from those states did not purchase their cars directly from Defendant, no

  vertical privity exists.

         First, Defendant is incorrect that Michigan and Nevada require privity to

  assert an implied warranty of merchantability claim. Neither requires privity. See

  Montgomery v. Kraft Foods Glob., Inc., 822 F.3d 304, 309 (6th Cir. 2016) (Mich.

  law); Pack v. Damon Corp., 434 F.3d 810, 818-20 (6th Cir. 2006) (Mich. law);20

  Hiles Co. v. Johnston Pump of Pasadena, Cal., 560 P.2d 154, 157 (Nev. 1977)

  (“[W]e believe that lack of privity between the buyer and manufacturer does not

  preclude an action against the manufacturer for the recovery of economic losses

  caused by breach of warranties.”).
  20
    In Pack, the Sixth Circuit noted that a number of district court cases from
  Michigan had required privity for implied warranty claims, however the court
  determined that those decisions “do not have the substantial weight of the
  decisions of the Michigan Supreme Court and the Michigan Court of Appeals on
  an issue of Michigan law.” Pack, 434 F.3d at 819-20.

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        While the remaining states do require vertical privity, they also recognize

  exceptions to the vertical privity requirement. One such exception, applicable to

  the California, North Carolina, Florida and Washington claims asserted here, is

  where the consumer is the third-party beneficiary (since the consumer, not the

  dealer, is the ultimate user). In re MyFord Touch Consumer Litig., 46 F. Supp. 3d

  936, 983-85 (N.D. Cal. 2014) (recognizing third-party beneficiary exception under

  California and North Carolina law); Keegan v. Am. Honda Motor Co., Inc., 838 F.

  Supp. 2d 929, 948 (C.D. Cal. 2012) (Under California law, automobile purchaser

  may maintain implied warranty claim against manufacturer when vehicle is

  purchased from authorized dealership); Sanchez-Knutson v. Ford Motor Co., 52 F.

  Supp. 3d 1223, 1233-34 (S.D. Fla. 2014) (recognizing third-party beneficiary

  exception under Florida law); In re MyFord Touch Consumer Litig., No. 13-cv-

  3072, 2015 WL 5118308, at *7 (N.D. Cal. Aug. 31, 2015) (recognizing third-party

  beneficiary exception under Washington law). Under Georgia law, the privity

  requirement is satisfied where the manufacturer provides an express warranty to

  the ultimate consumer. Lee v. Mylan, Inc., 806 F. Supp. 2d 1320, 1326 (M.D. Ga.

  2011).   Likewise, under Illinois law, the privity requirement is satisfied if a

  manufacturer provides a written warranty that satisfies the Magnuson-Moss




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  Warranty Act. Rothe v. Maloney Cadillac, Inc., 518 N.E.2d 1028, 1030-31 (Ill.

  1988); Szajna v. Gen. Motors Corp., 503 N.E.2d 760, 770 (Ill. 1986).21

        Based upon the foregoing, Plaintiffs’ claims should not be dismissed for lack

  of privity. Either there is no privity requirement as between a consumer and

  manufacturer or the privity requirement is satisfied under the highlighted

  exceptions.

  VII. PLAINTIFFS PROPERLY PLEAD THEIR MAGNUSON-MOSS
       WARRANTY ACT CLAIMS
        To state a claim under the Magnuson-Moss Warranty Act (“MMWA”),

  Plaintiffs must adequately plead a cause of action for breach of written or implied

  warranty under state law. For this reason, claims under the MMWA “stand or fall”

  with “express and implied warranty claims under state law.”              Clemens v.

  DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008).

        As discussed in Sections V and VI supra, Plaintiffs’ Complaint adequately

  alleges express and implied warranty claims; the Court should therefore uphold the

  Plaintiffs’ MMWA claims.


  21
     Some federal cases have disagreed with this interpretation of the interaction of
  the UCC and Magnuson-Moss. See Dekelaita v. Nissan Motor Corp. USA, 799
  N.E. 2d 367, 375-76 (Ill. App. 1st. Dist. 2003). However, this Court is bound by
  the Illinois Supreme Court’s interpretation of the privity requirement set forth in
  Rothe and Szana. See Erie R.R. Co. v. Tompkins, 304 U.S. 64, 79 (1938) (“The
  authority and only authority is the State, and if that be so, the voice adopted by the
  State as its own (whether it be of its Legislature or of its Supreme Court) should
  utter the last word.”).

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  VIII. BREACH OF CONTRACT CLAIM

        Plaintiffs stipulate to the dismissal of the breach of contract claim (Count II).

  IX.   PLAINTIFFS HAVE STANDING TO BRING COMMON-LAW
        FRAUD, STATUTORY FRAUD AND NEGLIGENT
        MISREPRESENTATION CLAIMS
        To establish Article III standing, a plaintiff must allege: (1) an injury in fact;

  (2) causation; and (3) redressability. Lujan v. Defenders of Wildlife, 504 U.S. 555,

  560-61 (1992).      Plaintiffs have alleged an injury in fact, causation and

  redressability.22 Thus, Plaintiffs have standing to pursue their claims.

        A.     Plaintiffs Adequately Plead an Injury In Fact
        Plaintiffs properly plead an economic injury in fact that satisfies Article III’s

  standing requirement. These injuries include substantial repair and replacement

  costs that have been incurred by Plaintiffs, overpayment for defective Class

  Vehicles and the diminished value of the Class Vehicles. See, e.g., Compl. ¶ 2 (the

  defective Timing Chain System “forc[ed] Plaintiffs and members of the class to

  incur out of pocket costs to repair or replace the damaged engine parts or their

  entire engine”); ¶ 5 (“Defendants have wrongfully and intentionally transferred the

  cost of repair or replacement of the Timing Chain System to Plaintiffs and

  members of the Classes . . . Repairs can range in cost from approximately $1,200

  (to replace the tensioner and timing chain) up to approximately $10,000.00 (to

  22
     Defendant does not argue that Plaintiffs cannot meet the “redressability”
  requirement, and so Plaintiffs will not address it here.

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  replace entire engine)”); ¶ 192 (Plaintiffs “would not have purchased or leased

  their respective Class Vehicles or would have paid substantially less”); see also

  Compl. ¶ 15.

        The costs borne by Plaintiffs for the repair or replacement undoubtedly

  qualify as actual injuries. See, e.g., Cholakyan v. Mercedes-Benz USA, LLC, 796

  F. Supp. 2d 1220, 1229 (C.D. Cal. 2011) (out-of-pocket expenses concerning the

  diagnosis or repair of a defect confer standing in automotive defect case); see also

  Danvers Motor Co., Inc. v. Ford Motor Co., 423 F.3d 268, 293 (3d Cir. 2005)

  (“Monetary harm is a classic form of injury in fact. Indeed, it is often assumed

  without discussion.”). Moreover, courts have routinely held that vehicle owners

  have standing to pursue their claims against the vehicle manufacturer where they

  allege injuries based on overpayment for a defective vehicle and/or diminished

  value of the vehicle due to the defect. See, e.g., Cole v. General Motors Corp., 484

  F.3d 717, 722-23 (5th Cir. 2007) (finding a concrete injury in fact where plaintiffs

  allege that vehicles were defective at the moment of purchase and “their injury is

  that there is a difference between what they contracted for and what they actually

  received”); In re Toyota Motor Corp. Unintended Acceleration Mktg., Sales

  Practices, & Prods. Liab. Litig., 790 F. Supp. 2d 1152, 1163 (C.D. Cal. 2011)

  (“overpayment for the defective, unsafe vehicle constitutes the economic-loss




                                          42
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  injury that is sufficient to confer standing”). Plaintiffs have alleged an injury in

  fact under Article III.

        B.     Plaintiffs Adequately Plead Causation
        Plaintiffs also allege that Defendant’s misrepresentations regarding the

  quality and useful life of the Class Vehicles and Timing Chain System and

  Defendant’s failure to disclose the defect caused Plaintiffs to suffer the injuries

  discussed above.     See Cole, 484 F.3d at 722-23 (holding that plaintiffs have

  standing where they allege “economic injury at the moment [they] purchased a

  DeVille because each DeVille was defective [and] that each plaintiff suffered

  economic injury arising from GM’s unreasonable delay in replacing their defective

  SISMs”). To the extent that Defendant inserts a Rule 9(b) argument into the

  standing analysis, Plaintiffs address this issue below. See infra at Section XIII.A.

  Defendant’s assertion that Plaintiffs’ claims fail to satisfy the standing requirement

  under Article III should be wholly rejected.

  X.    PLAINTIFFS SUFFICIENTLY PLEAD COMMON-LAW FRAUD

        A.     Plaintiffs Have Alleged Fraudulent Omission

        Plaintiffs have sufficiently alleged fraudulent omission.23 To establish fraud,

  a plaintiff must allege: “(1) a material misrepresentation [or omission] of a


  23
     Rule 9(b) requires plaintiffs to “inject precision or some measure of
  substantiation into a fraud allegation.” Frederico v. Home Depot, 507 F.3d 188,
  200 (3d Cir. 2007). However, intent and other conditions of mind of a person may
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  presently existing or past fact; (2) knowledge or belief by the defendant of its

  falsity; (3) an intention that the other person rely on it; (4) reasonable reliance

  thereon by the other person; and (5) resulting damages.” Wiatt v. Winston &

  Strawn LLP, 838 F. Supp. 2d 296, 315-16 (D.N.J. 2012) (Linares, J.) (quoting

  Gennari v. Weichert Co. Realtors, 148 N.J. 582, 610 (1997)) (alteration in

  original).

        Plaintiffs specifically allege that “Defendants concealed from Plaintiffs and

  members of the Classes during their warranty periods that a defect existed with the

  Timing Chain System which could have and should have been fixed during the

  warranty period.” Compl. ¶ 189. Among other misstatements and half-truths,

  Defendant omitted reference to the Timing Chain System from the maintenance

  schedules, thus falsely representing that the Timing Chain System does not require

  maintenance or replacement.      See Compl. ¶ 83.       Defendant also internally

  acknowledged the Timing Chain System defect, releasing several Technical

  Service Bulletins (“TSBs”) to dealerships beginning in or around June 2010 and

  later redesigning major components of the Timing Chain System, but failed to

  inform customers of the defect and necessary repairs. Compl. ¶¶ 111-22. Contrary

  be alleged generally. FED. R. CIV. P. 9(b). “[I]n cases where the fraud alleged is
  the fraudulent omission of information within the exclusive control of the
  Defendant, the standard is relaxed.” Gray v. BMW of N. Am., LLC, 22 F. Supp. 3d
  373, 385 (D.N.J. 2014); see also Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088,
  1099 (N.D. Cal. 2007) (“a fraud by omission claim can succeed without the same
  level of specificity required by a normal fraud claim”).

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  to Defendant’s assertion, Plaintiffs allege that they received and relied on

  Defendant’s representations, and in turn purchased vehicles worth less than they

  paid and incurred (or were likely to incur) substantial repair costs.24 See, e.g.,

  Compl. ¶¶ 5, 69, 70, 142, 187, 189-94, 200, 225.

        Several courts have found that consumers had sufficiently alleged fraudulent

  omissions by automotive manufacturers under consumer fraud statutes, where the

  manufacturer knowingly concealed defects in the timing chain system.           For

  example, in Skeen v. BMW of North America, LLC, No. 13-cv-1531, 2014 WL

  283628, at *10 (D.N.J. Jan. 24, 2014), the court examined fraudulent omissions

  under the NJCFA and found that the plaintiffs had sufficiently pled fraudulent

  omissions when the manufacturer’s warranty “did not include a conspicuous

  statement about” a defect in the timing chain tensioner. In In re Saturn L-Series

  Timing Chain Prods. Liab. Litig., MDL No. 1920, 2008 WL 4866604, at *5 (D.

  Neb. Nov. 7, 2008), the court also found fraudulent omission where plaintiffs

  24
     Allegations of reliance need only be pled generally. See, e.g, Dewey v.
  Volkswagen AG, 558 F. Supp. 2d 505, 526 (D.N.J. 2008) (“general allegations of
  reliance are sufficient in light of the fact that the specific facts as to the
  misrepresentations are within Defendants’ control, not Plaintiff’s”); McCabe v.
  Daimler AG, 948 F. Supp. 2d 1347, 1367 (N.D. Ga. 2013) (“Plaintiffs allege that
  they would never have purchased their vehicles had they known of the defect.
  Thus, they have alleged ‘the content of [the omission] and the manner in which [it]
  misled [them]’”); Feldman v. Mercedes-Benz USA, LLC, No. 11-cv-00984, 2012
  WL 6596830, at *10 (D.N.J. Dec. 18, 2012) (plaintiffs sufficiently “alleged
  justifiable reliance in that a reasonable customer would not have purchased the car
  or would have paid less for it had the defect been disclosed”).

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  alleged that “[t]he timing chain is not mentioned in the Maintenance Schedules

  printed in the Owner’s Handbooks for Class Vehicles, which schedules

  recommend periodic inspection of replacement of parts.” Similarly, in Falco v.

  Nissan North America Inc., No. 13-cv-00686, 2013 WL 5575065, at *7 (C.D. Cal.

  Oct. 10, 2013), the court found that plaintiffs had sufficiently pled fraudulent

  concealment where the automotive manufacturer acknowledged in TSBs that it

  was necessary to fix the timing chain tensioner but otherwise failed to inform the

  customers about the necessary repair.25 As in those cases, Plaintiffs here have

  sufficiently alleged that Defendant fraudulently concealed material facts about the

  Timing Chain System.

              1.     Defendant Owed Duty to Disclose in Light of Its Exclusive
                     and Superior Knowledge of the Timing Chain System
                     Defect

        As Defendant acknowledges, the laws of the majority of the Plaintiffs’ home

  states recognize a duty to disclose where the defendant possesses exclusive or



  25
    Several other courts have upheld fraudulent omission claims where automotive
  manufacturers fail to disclose known defects to purchasers. See, e.g., Majdipour v.
  Jaguar Land Rover North Am., LLC, No. 12-cv-07849, 2015 WL 1270958, at *8-
  15 (D.N.J. Mar. 18, 2015) (upholding fraud by omission claim concerning
  defective electronic air suspension system); Gray, 22 F. Supp. 3d at 386
  (upholding fraud by omission claims where plaintiffs alleged that defendant
  “knowingly concealed the defect from purchasing customers in order to place the
  burden of replacing the convertible tops onto consumers.”); In re MyFord Touch
  Consumer Litig., 46 F. Supp. 3d 936, 960 (N.D. Cal. 2014) (upholding fraud by
  omission claims).

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  superior knowledge or actively conceals the omitted information.26 See Mot. at 49.

  Here, Plaintiffs have alleged just such knowledge and concealment.

        Specifically, Plaintiffs allege that Defendant had superior or exclusive

  knowledge of the Timing Chain System defect based on Defendant’s:

        pre-production testing, pre-production design failure mode analysis,
        production design failure mode analysis, early consumer complaints
        made to Defendants’ network of exclusive dealers, aggregate warranty
        data compiled from those dealers, repair order and parts data received
        from the dealers, consumer complaints to dealers and [NHTSA], and
        testing performed in response to consumer complaints

  Compl. ¶ 107. Moreover, Plaintiffs allege the presence of multiple TSBs (issued in

  2010, 2011 & 2012), specific consumer complaints, and Defendant’s decision to

  redesign the Timing Chain System in 2012.          See Compl. ¶¶ 112-30.       These

  allegations are sufficient to establish that Defendant possessed superior and

  exclusive knowledge about the defect, such that they had a duty to disclose it to

  Plaintiffs.27 Plaintiffs also allege that Defendant actively concealed this defect in


  26
    The states that recognize a duty to disclose where a defendant possesses
  exclusive or superior knowledge or actively conceals omitted information are:
  New York, California, Colorado, Connecticut, Florida, Indiana, Kansas, Michigan,
  Minnesota, New Hampshire, Maryland, North Carolina, Pennsylvania, Washington
  and Nevada.
  27
    See Majdipour v. Jaguar Land Rover N. Am., LLC, No. 12-cv-07849, 2013 WL
  5574626, at *17 (D.N.J. Oct. 9, 2013) (finding duty to disclose where
  manufacturer had exclusive knowledge of defect through “pre-release testing data,
  early consumer complaints . . . testing conducted in response to those complaints,
  high failure rates and replacement parts sales data contained in [Land Rover's]
  warranty databases, as well as high reimbursement claims paid to Land Rover
  dealers”); In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 960 (N.D.
                                           47
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  an effort to shift the repair costs onto the vehicle owners. See Compl. ¶¶ 2, 5, 10,

  11, 12, 14, 106, 107, 110, 121, 144, 146, 149, 151, 152, 156, 157, 160, 161, 189,

  191, 193.

        Defendant’s attempt to downplay the significance of its redesign of the

  Timing Chain System is unavailing. To be sure, in Falco v. Nissan North America,

  Inc., No. 13-cv-00686, 2013 WL 5575065, at *6-7 (C.D. Cal. Oct. 10, 2013), the

  court rejected this same argument, holding that the defendant’s redesign of the

  timing chain system supported an inference that defendant was aware of the defect.

        Defendant’s reliance on cases suggesting that the existence of TSBs alone do

  not establish knowledge on the part of an automotive manufacturer is also

  unavailing.28   Here, Plaintiffs allege numerous facts supporting Defendant’s

  knowledge of the defect, the presence of the TSBs being just one. A TSB is



  Cal. 2014) (manufacturer had exclusive knowledge of a defect based on
  defendant’s release of TSBs and noting that “Plaintiffs would not have had full
  awareness of the TSBs because the full content of the TSBs was not publicly
  available on the NHTSA website.”); Feldman v. Mercedes–Benz USA, LLC, No.
  11-cv-00984, 2012 WL 6596830, at *11 (D.N.J. Dec. 18, 2012) (finding duty to
  disclose where manufacturer had exclusive knowledge “through pre-release testing
  data, early consumer complaints about the [] Defect ... testing conducted in
  response to those complaints, warranty and post-warranty claims, replacement part
  sales data, aggregate data from Mercedes dealers, and from other internal
  sources”).
  28
    See Alban v. BMW of N. Am., LLC, No. 09-cv-5398, 2011 WL 900114 (D.N.J.
  Mar. 15, 2011); Wiseberg v. Toyota Motor Corp., No. 11-cv-3776-JLL, 2012 WL
  1108542 (D.N.J. Mar. 30, 2012) (Linares, J.); Davisson v. Ford Motor Co., No. 13-
  cv-00456, 2014 WL 4377792 (S.D. Ohio Sept. 3, 2014).

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  sufficient to support a claim when combined with other allegations of knowledge,

  such as consumer complaints, aggregate data collected from dealers, pre-and post-

  release testing data, and evidence of standard industry practice. See In re Porsche

  Cars N. Am., Inc., 880 F. Supp. 2d 801, 816-17 (S.D. Ohio 2012).

               2.    Defendant Owed a Duty to Disclose Safety Defects

        Defendant also owes a duty to disclose safety defects under Georgia, Illinois,

  Ohio, South Carolina, and Texas law. See, e.g., McCabe, 948 F. Supp. 2d at 1368-

  70 (sustaining fraud by omission claim under Georgia and Texas law and imposing

  a duty to disclose where “safety defects with gasoline tanks … could not have been

  discovered through the exercise of ordinary prudence and caution [by plaintiffs].”);

  In re Takata Airbags Prods. Liability Litig., No. 15-md-2599, slip op. at 13-14

  (S.D. Fla. Sept. 21, 2016) (ECF No. 1202) (sustaining fraudulent concealment

  claim under South Carolina law regarding airbag defect because “South Carolina

  law does not always require a fiduciary relationship for a duty to disclose to exist”)

  (citing Fisher v. Pelstring, 817 F. Supp. 2d 791, 823 (D.S.C. 2011)); In re Takata

  Airbags Prods. Liability Litig., No. 15-md-2599, slip op. at 11, 15, 21-22 & 31

  (S.D. Fla. Oct. 14, 2016) (ECF No. 1256) (sustaining fraudulent concealment

  claims under Ohio, Georgia and Illinois law).

        Notably, in In re Saturn L-Series Timing Chain Prod. Liab. Litig., the court

  recognized that timing chain defects create safety concerns sufficient to give rise to


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  a duty to disclose. 2008 WL 4866604, at *20 (citing Falk v. Gen. Motors Corp.,

  496 F. Supp. 2d 1088, 1096, n.* (N.D. Cal. 2007) (holding that defendants were

  obliged to disclose the defect in their vehicles because “plaintiffs successfully

  allege that the potential for failed speedometers constitutes a safety hazard”).29

  Like the plaintiffs in In re Saturn, Plaintiffs here plead that the defective Timing

  Chain System created a safety concern. See Compl. ¶¶ 4, 105 (failure of the

  Timing Chain System “can lead to the inability to accelerate or maintain speed

  and/or catastrophic engine failure. These types of failures subject drivers and

  passengers [to] the potential for rear-end collisions and other accidents.”). As

  such, Defendant had a duty to disclose the defective Timing Chain System.

              3.     Defendant’s Partial Disclosures Created a Duty to Disclose

        Under the laws of New Jersey, Ohio and Texas, a duty to fully disclose is

  also imposed where a defendant has made partial disclosures.30 Here, Plaintiffs



  29
    See also In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 960 (N.D.
  Cal. 2014) (finding allegedly defective in-vehicle communication, navigation, and
  entertainment system posed sufficient safety issue giving rise to duty to disclose).
  30
    See, e.g., Lightning Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1185 (3d Cir. 1993)
  (“where a claim for fraud is based on silence or concealment, New Jersey courts
  will not imply a duty to disclose, unless such disclosure is necessary to make a
  previous statement true”); In re Whirlpool Corp. Front-Loading Washer Prods.
  Liab. Litig., No. 08-cv-65000, 2010 WL 3655954, at *2 (N.D. Ohio Sept. 15,
  2010) (finding duty to disclose under Ohio law given partial disclosures by
  defendant); Se. Fin. Corp. v. United Merchants & Mfrs., Inc., 701 F.2d 565, 566-
  67 (5th Cir. 1983) (“Under Texas law, a duty to speak may arise from partial
  disclosure, the [speaker] being under a duty to tell the whole truth although he was
                                          50
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  allege such a partial disclosure. Specifically, Defendant’s maintenance schedules

  identified numerous engine components that require maintenance within

  enumerated time periods. See Compl. Exs. A, B. Defendant represents in the

  maintenance schedules that the timing belt, which performs the same function as

  the Timing Chain System, will need service after a certain time but makes no

  representation that the Timing Chain System will need maintenance. See Compl. ¶

  83. The omission of the Timing Chain System from the maintenance schedules

  thus constitutes a partial omission, and Defendant had a duty to fully disclose that

  the defective Timing Chain System will, in fact, require maintenance within the

  time periods outlined in the maintenance schedules and well before any reasonable

  consumer would expect.

        B.     Plaintiffs Plead an Actionable Misrepresentation

        In addition to pleading fraudulent omission, Plaintiffs have also sufficiently

  alleged actionable misrepresentations. Specifically, Plaintiffs allege that:

        •      The sales and marketing executives at VWGoA advertised and
               otherwise misrepresented that Class Vehicles would last over
               120,000 miles or ten years without needing servicing of the
               Timing Chain System. See, e.g., Compl. ¶¶ 8, 142-43, 156-57.

        •      Defendants misrepresented in the USA Warranty and
               Maintenance schedules that the Timing Chain System is
               intended and reasonably expected to last for the useful life of


  required to say nothing, for one may convey a false impression by the disclosure of
  some facts and the concealment of others.”).

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              the engine and at least 120,000 miles without the need for
              repair or replacement. Compl. ¶¶ 83, 94, Exs. A, B, E, G.

        •     Defendants misrepresented that their express warranties would
              cover all defects occurring within the mileage limitations,
              despite knowing that they planned to deny coverage for
              anything they unilaterally attributed to a “design defect.”
              Compl. ¶¶ 9-10.

        •     Defendants misrepresented that the Powertrain Limited
              Warranty covered “all internal [engine] parts,” but knew that
              the Timing Chain System would likely fail outside the warranty
              period and therefore refused to cover the Timing Chain System
              during the warranty period. Compl. ¶¶ 135-37.

        •     Defendants misrepresented that the Timing Chain System
              failures were the result of other conditions not covered under
              warranty. Compl. ¶ 149.

  Plaintiffs further allege that these “misrepresentations and fraudulent statements

  were received by Plaintiffs and members of the Classes prior to and at the point of

  their Class Vehicle purchase or lease, including misrepresentations and omissions

  in the owner’s manual and the USA Warranty and Maintenance pamphlets.”31

  Compl. ¶ 143.

        These representations are not mere puffery, but instead actionable

  misstatements of fact. As the Third Circuit has recognized, claims that are specific


  31
    The maintenance schedules do not list every part in the automobile; rather, the
  maintenance schedules only list those parts that require maintenance during the
  specified timeframes. Thus, by not identifying the Timing Chain System in the
  maintenance schedules, Defendant affirmatively represented that maintenance or
  replacement is not necessary before 120,000 miles.

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  and measurable by comparative research are not puffery. Castrol Inc. v. Pennzoil

  Co., 987 F.2d 939, 946 (3d Cir. 1993).32 Here, Defendant did not simply tout the

  general superiority of the Class Vehicles; rather, Defendant affirmatively

  misrepresented that the expected life of the Class Vehicles, and associated

  components such as the chain tensioner, chain and rails, would be maintenance

  free up to and including 120,000 miles. This is a specific, measurable claim that

  Defendant knew was false, but propagated nonetheless.

        C.     All Class Vehicles Contain Defective Timing Chain Systems
               Regardless of Whether They Outlasted Time/Mileage Durations
               of the Express Warranty

        All Class Vehicles contain defective Timing Chain Systems, not just those

  vehicles that failed to outlast the warranty period. As alleged, all Class Vehicles

  have defective Timing Chain Systems containing oil-pressurized sintered ratchet

  pawls and/or timing chains constructed with alternating rows of link plate

  thickness.   Compl. ¶¶ 99-101, 127-30.       Throughout the relevant time period,

  Defendant was or should have been aware that the defective Timing Chain System

  would allow the timing chain to skip on the camshaft sprockets, resulting in

  improper camshaft and crankshaft synchronization. This improper synchronization
  32
    “The distinguishing characteristics of puffery are vague, highly subjective claims
  as opposed to specific, detailed factual assertions.” Lieberson v. Johnson &
  Johnson Consumer Cos., Inc., 865 F. Supp. 2d 529, 540 (D.N.J. 2011). By
  contrast, “false claims that explicitly or implicitly address product attributes of
  importance to customers and make statements that are measurable by comparative
  research are not puffery.” Id.

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  causes the cylinder head valves to open and close at the wrong time, allowing the

  pistons to strike and bend the valves as the camshafts and crankshaft rotate. Id. ¶¶

  89, 101. This results in catastrophic engine failure. Id. Plaintiffs are not simply

  asking the Court to extend the warranty period to cover potential problems that

  may arise, but instead are asking that the Court require Defendant to correct a

  defect present in all Class Vehicles that Defendant knew existed during the

  warranty period but failed to remedy.

        Defendant’s reliance on Perkins v. DaimlerChrysler Corp., 383 N.J. Super.

  99 (App. Div. 2006), and other federal cases applying Perkins – such as Duffy v.

  Samsung Electronics. America, Inc., No. 06-cv-5259, 2007 WL 703197, at *7-8

  (D.N.J. Mar. 2, 2007), Noble v. Porsche Cars North America, Inc., 694 F. Supp. 2d

  333, 337 (D.N.J. 2010), and Nobile v. Ford Motor Co., No. 10-cv-1890, 2011 WL

  900119, at *5-6 (D.N.J. Mar. 14, 2011) – for the proposition that Plaintiffs’ fraud

  claims fail because Plaintiffs’ vehicles outlasted their warranties is misplaced. As

  the Court recognized in Mickens v. Ford Motor Company, 900 F. Supp. 2d 427,

  442 (D.N.J. 2012), “[w]arranty coverage of a particular problem does not, as a

  matter of law, negate a [Consumer Fraud Act] claim that the manufacturer

  knowingly omitted information about a design defect.”33 Id. at 442. A warranty

  33
    Notably, the plaintiff in Perkins failed to allege that the defective part required
  repair or replacement, or that the deterioration or failure of the part presented a
  danger.

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  does not absolve a manufacturer of liability where “the purported defect

  manifested itself within the warranty period and . . . the manufacturer knew the

  product would fail.” Id. at 443 (distinguishing Noble, Perkins and Duffy).34

        Here, Plaintiffs have sufficiently alleged that Defendant had actual

  knowledge that design, manufacturing, material and/or workmanship defects were

  causing extensive and irreversible performance degradation in the Timing Chain

  Systems shortly after production of the Class Vehicles commenced. Compl. ¶

  108. Defendant’s knowledge of the defect was further confirmed through various

  TSBs, NHTSA complaints, and eventual redesign of the chain tensioner and timing

  chain in or around 2012. Compl. ¶¶ 106-32. Defendant cannot be absolved from

  liability for wrongfully and intentionally concealing the defective Timing Chain

  System simply because certain Class Vehicles outlasted the warranty period.35

  34
    See also Coba v. Ford Motor Co., No. 12-cv-1622, 2013 WL 244687, at *9-11
  (D.N.J. Jan. 22, 2013) (distinguishing Perkins, and finding “[t]he notion that a
  manufacturer would be absolved from liability for knowingly omitting a defect
  because it acknowledges the possibility of defects in its warranty is both illogical
  and contrary to the spirt of the NJCFA”); In re Ford Motor Co., Spark Plug & 3-
  Valve Engine Prods. Liab. Litig., No. 12-md-2316, 2014 WL 3778592, at *26-27
  (N.D. Ohio. July 30, 2014) (finding “Plaintiffs do not allege that the defect is
  breakage, but rather it is the build up of unburned hydrocarbons . . . as a result of
  the design defect . . . The Court finds that at a minimum, there is a question of fact
  as to whether the defect about which Plaintiffs are suing actually occurs within the
  warranty period.”).
  35
    Defendant’s citation to cases from California, Florida and New York is also
  unavailing. For example, in Daugherty v. American Honda Motor Co., Inc., 144
  Cal. App. 4th 824, 835 (Cal. App. 2nd Dist. 2006), the court recognized claims
  may be actionable where the “omission [is] contrary to a representation actually
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        D.    The Economic Loss Doctrine Does Not Apply

        Defendant’s invocation of the economic loss doctrine to dismiss common

  law fraud claims under Florida, Michigan, New Hampshire, New Jersey, New

  York, North Carolina, Ohio, Pennsylvania, and South Carolina also fails.36 See

  Mot. at 58-59. Lost in Defendant’s string cite is the fact that these states have

  recognized exceptions to the economic loss doctrine that apply here.

        For example, as the Court recently observed in In re Caterpillar, Inc., C13 &

  C15 Engine Prods. Liab. Litig., “the economic loss doctrine [is] inapplicable to

  claims of misrepresentation and fraud” under New York law. No. 14-cv-3722,

  2015 WL 4591236, at *35 (D.N.J. July 29, 2015) (citing Weisblum v. Prophase

  made by the defendant, or an omission of a fact the defendant was obliged to
  disclose.” See Falk v. Gen. Motors Corp., 496 F. Supp. 2d 1088, 1094 (N.D. Cal.
  2007) (distinguishing Daugherty). In TRG Night Hawk Ltd. v. Registry Dev.
  Corp., 17 So. 3d 782, 784 (Fla. Dist. Ct. App. 2009), the court simply dismissed
  the plaintiff’s claims regarding a land sale where the terms of the contract were
  inconsistent with the alleged misrepresentations. Defendant’s New York authority
  is also distinguishable, as the defendants there made no representations regarding
  the operation of their products. See Against Gravity Apparel, Inc. v. Quarterdeck
  Corp., 267 A.D.2d 44 (N.Y. App. Div. 1999) (“defendant expressly ‘[did] not
  warrant that the operation of the Software will be uninterrupted or error free.”);
  Moore v. Microsoft Corp., 293 A.D.2d 587 (N.Y. App. Div. 2002) (“plaintiff failed
  to allege that the defendant engaged in a materially misleading practice and thus
  his deceptive trade practice claim fails . . . Furthermore, there was no warranty
  given by the defendant that the software product was error-free.”).
  36
     Defendant lists plaintiff Hosier, a citizen of Maryland, among the plaintiffs
  whose fraud claims should be dismissed under the economic loss rule, but fail to
  cite any cases examining Maryland law. In fact, Maryland does not apply the
  economic loss rule to fraud claims. HT of Highlands Ranch, Inc. v. Hollywood
  Tanning Sys., Inc., 590 F. Supp. 2d 677, 691 (D.N.J. 2008).

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  Labs, Inc., No. 14-cv-3587, 2015 WL 738112, at *12 (S.D.N.Y. Feb.20, 2015)).37

  See also Elkind v. Revlon Consumer Prods. Corp., No. 14-cv-2484, 2015 WL

  2344134, at *12 (E.D.N.Y. May 14, 2015). In other states, such as New Jersey,

  Florida, North Carolina, Pennsylvania, New Hampshire, and South Carolina, fraud

  claims are not barred by the economic loss rule where plaintiffs allege fraudulent

  inducement or situations where the defendant violated an extrinsic duty.38

  37
     Defendant cites Orlando v. Novurania of America, Inc., 162 F. Supp. 2d 220
  (S.D.N.Y. 2001) for the proposition that the economic loss doctrine bars fraud
  claims under New York law. However, several courts have criticized the Orlando
  court’s failure to cite any New York authority to support its conclusion. See
  Weisblum v. Prophase Labs, Inc., 88 F. Supp. 3d 283, 297-98 (S.D.N.Y. 2015)
  (Orlando “stated, without discussion or citation, that New York courts have not
  adopted an exception to the economic loss rule for intentional torts. Other courts in
  this Circuit, however, have disagreed. In light of those cases, and the absence of
  any contrary authority from the New York state courts, the Court declines to
  dismiss Plaintiffs’ fraud claims on the basis of the economic loss doctrine”); EED
  Holdings v. Palmer Johnson Acquisition Corp., 387 F. Supp. 2d 265, 277-78
  (S.D.N.Y. 2004) (refusing to dismiss fraud claims, observing that “the Orlando
  court failed to identify any New York cases addressing the applicability of the
  economic loss rule to a fraud claim. Rather, it reasoned that since New York courts
  had failed to carve out any applicable exceptions to the rule, it must be interpreted
  to bar a fraud claim for pure economic loss.”).
  38
     See Smith v. Citimortgage, Inc., No. 15-cv-7629-JLL, 2015 WL 12734793, at *7
  (D.N.J. Dec. 22, 2015) (Linares, J.) (under New Jersey law, “fraud claims that are
  extrinsic to the underlying contract, such as for fraudulent inducement, are not”
  barred by economic loss doctrine); In re MyFord Touch Consumer Litig., 46 F.
  Supp. 3d 936, 965-67 (N.D. Cal. 2014) (economic loss doctrine does not bar
  fraudulent inducement claims under Florida or North Carolina law); Stein v.
  Fenestra Am., L.L.C., No. 09-cv-5038, 2010 WL 816346, at *4 (E.D. Pa. Mar. 9,
  2010) (economic loss rule does not apply under Pennsylvania law where the fraud
  is “extraneous to the contract”); Wyle v. Lees, 162 N.H. 406, 411 (2011) (economic
  loss doctrine does not apply to fraudulent inducement); Simons v. Wal-Mart Stores
  E., L.P., No. 11-cv-03180, 2013 WL 393998, at *5 (D.S.C. Jan. 31, 2013) (“The
                                           57
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  Michigan and Ohio do not apply the economic loss doctrine to fraud claims

  brought by consumers, particularly those who are not in contractual privity with

  the defendant.39 Defendant’s authorities do not suggest otherwise.40



  economic loss rule does not bar tort claims where a defendant voluntarily assumes
  a duty to use due care over and above the duty required by the contract.”).
  39
    Republic Ins. Co. v. Broan Mfg. Co., Inc., 960 F. Supp. 1247, 1249 (E.D. Mich.
  1997) (Michigan’s economic loss doctrine “has no application outside the
  commercial realm.”); Blackward v. Simplex Prods. Div., No. 221066, 2001 WL
  1255924, at *3 (Mich. Ct. App. Oct. 19, 2001) (“The economic loss doctrine as
  adopted in Michigan clearly distinguishes between transactions involving the sale
  of goods for commercial purposes, where there are economic expectations attached
  to the purchases, and those involving the sale of defective products which result in
  losses traditionally remedied by resort to tort law.”); Weske v. Samsung Elecs.,
  Am., Inc., 934 F. Supp. 2d 698, 706 (D.N.J. 2013) (economic loss doctrine does not
  bar negligence claims under Ohio law for claims brought by consumer not in
  privity with manufacturer); In re MyFord Touch Consumer Litig., 46 F. Supp. 3d.
  936, 968 (N.D. Cal. 2014) (same).
  40
     The Florida, New Jersey, Pennsylvania, North Carolina, and South Carolina
  authority cited by Defendant recognizes that the economic loss doctrine does not
  bar claims where the fraud is extraneous to a contract. In Murphy v. Proctor &
  Gamble Company, 695 F. Supp. 2d 600, 602 (E.D. Mich. 2010), the court inferred
  from the Michigan Supreme Court’s decision in Davis v. Forest River, Inc., 774
  N.W.2d 327 (2009) that the economic loss doctrine applies to consumer
  transactions. However, the Davis simply granted “judgment in the plaintiff's favor
  for different reasons from those stated by the Court of Appeals,” further observing
  that “it is unnecessary to reach the remaining issues argued before this Court.” Id.
  at 328. In In re Elk Cross Timbers Decking Mktg., Sales Practices & Prods. Liab.
  Litig., No. 15-cv-18-JLL, 2015 WL 6467730, at *22 (D.N.J. Oct. 26, 2015)
  (Linares, J.), this Court applied the economic loss doctrine to dismiss fraud claims
  brought under New Hampshire law; however, the plaintiffs there failed to “argue[]
  that the economic doctrine is inapplicable.” In Galoski v. Stanley Black & Decker,
  Inc., No. 14-cv-553, 2015 WL 5093443, at *7-8 (N.D. Ohio Aug. 28, 2015), the
  court did not analyze Ohio cases finding that economic loss doctrine does not bar
  claims brought by a consumer not in privity with a manufacturer.

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  XI.   PLAINTIFFS’ NEGLIGENT MISREPRESENTATION CLAIM
        SHOULD BE SUSTAINED
        A “cause of action for negligent misrepresentation may exist when a party

  negligently provides false information.” Karu v. Feldman, 119 N.J. 135, 146

  (1990).    Liability “extend[s] to all reasonably foreseeable recipients.”          Id.

  Plaintiffs meet these elements. Plaintiffs allege that Defendant provided false

  information in the form of affirmative misrepresentations (about the useful and

  expected life of the Class Vehicles and Timing Chain System) and omissions

  (failing to disclose the defect). Plaintiffs, and all owners of the Class Vehicles, are

  reasonably foreseeable recipients of these misrepresentations and omissions.

  Plaintiffs’ claim should proceed.41

        Defendant argues that certain states do not recognize a claim for negligent

  misrepresentation based on omissions. This argument fails for two reasons. First,

  omissions are actionable under a claim of negligent misrepresentation in two of the

  states – New York and Michigan – cited by Defendant.42 Second, Defendant has

  ignored Plaintiffs’ allegations of affirmative misstatements. See supra at Section

  41
    Plaintiffs concede that Arkansas does not recognize the tort of negligent
  misrepresentation. See J.D. Fields & Co. v. Nucor-Yamato Steel, 976 F. Supp. 2d
  1051, 1069 (E.D. Ark. 2013).
  42
     Williams v. Polgar, 215 N.W.2d 149 (Mich. 1974) (Michigan Supreme Court
  held that an abstracter can be held liable for negligent misrepresentation when he
  or she omits a recorded deed in a title abstract after failing to conduct a reasonable
  investigation); Gomez-Jimenez v. N.Y. Law Sch., 103 A.D.3d 13, 17-18 (N.Y. App.
  Div. 2012) (“To state a cause of action for fraudulent misrepresentation, a plaintiff
  must allege a misrepresentation or a material omission of fact”).

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  X.B.; Compl. ¶¶ 9, 10, 12, 135-37, 143, 149, 156, 157, 362.           Accordingly,

  Plaintiffs negligent misrepresentation claim should remain under the laws of New

  York, Michigan, California, Colorado, Indiana and North Carolina.

         Defendant next argues that the relationship between Defendant and Plaintiffs

  is not sufficiently close to maintain a negligent misrepresentation claim in several

  states. However, as discussed above, affirmative misrepresentation and omission

  based claims by vehicle purchasers are commonly sustained against vehicle

  manufacturers, where the manufacturer has exclusive and superior knowledge of

  the defect or where the defect implicates safety concerns. See supra at Section

  X.A.

         Defendant’s argument based on the economic loss rule is similarly

  unavailing. Defendant concedes that the economic loss rule does not apply in

  Kansas and Texas, and Defendant fails to cite any authority in Colorado. Further,

  none of the other jurisdictions apply the economic loss rule to bar all tort claims

  alleging only economic loss. Rather, those jurisdictions allow for exceptions to the

  economic loss rule, which are applicable to the present case – where the tort claims

  are based on conduct independent of a contract or where there is a risk of personal

  injury.43 Here, Defendant’s misrepresentations and omissions are independent of


  43
    See, e.g., United Int’l Holdings, Inc. v. Wharf (Holdings) Ltd., 210 F.3d 1207,
  1227 (10th Cir. 2000) (considering Colorado law); HTP, Ltd. v. Lineas Aereas
  Costarricenses, S.A., 685 So. 2d 1238, 1239 (Fla. 1996); Ulbrich v. Groth, 310
  Conn. 375, 406 (Conn. 2013); U.S. Bank, N.A. v. Integrity Land Title Corp., 929
                                          60
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  any contract and the defect poses a serious risk of personal harm. See Compl. ¶ 4.

  Thus, Plaintiffs’ claims are not barred by the economic loss rule. See also supra at

  Section X.D.

  XII. PLAINTIFF’S UNJUST ENRICHMENT CLAIMS SHOULD NOT BE
       DISMISSED

        The unjust enrichment doctrine requires that plaintiffs show that: (1) they

  expected remuneration from the defendant at the time they performed or conferred

  a benefit and (2) the failure of remuneration enriched the defendant beyond its

  contractual rights. In re Mercedes-Benz Tele Aid Contract Litig., 257 F.R.D. 46,

  72 (D.N.J. 2009).44 “In other words, [p]laintiffs must show that they got something

  less than they paid for, and [defendants] should be required as a matter of equity to



  N.E.2d 742, 746 (Ind. 2010); Holloman v. D.R. Horton, Inc., 241 Ga. App. 141,
  147-48 (Ga. Ct. App. 1999); In re Chi. Flood Litig., 680 N.E.2d 265, 274-75 (Ill.
  1997); Lloyd v. Gen. Motors Corp., 916 A.2d 257, 265-66 (Md. Ct. App. 2007); 80
  S. Eighth St. Ltd. P'ship v. Carey-Canada, Inc., 486 N.W.2d 393, 399 (Minn.
  1992); Phillips v. Dignified Transition Sols., No. 13-cv-02237, 2014 WL 4294972,
  at *7 (D. Nev. Aug. 28, 2014); Johnson v. Capital Offset Co., No. 11-cv-459, 2013
  WL 5406613, at *3 (D.N.H. Sept. 25, 2013); Silicon Knights, Inc. v. Epic Games,
  Inc., No. 07-cv-275, 2011 WL 1134453, at *6, n.7 (E.D.N.C. Jan. 25, 2011); Nat'l
  Mulch & Seed, Inc. v. Rexius Forest By-Prods. Inc., No. 02-cv-1288, 2007 WL
  894833, at *6 (S.D. Ohio Mar. 22, 2007); Brand Mktg. Grp. LLC v. Intertek
  Testing Servs., N.A., Inc., 801 F.3d 347, 354 (3d Cir. 2015) (applying Pennsylvania
  law); Jackson v. City of Seattle, 244 P.3d 425, 431 (Wash. Ct. App. 2010);
  Robinson Helicopter Co. v. Dana Corp., 102 P.3d 268, 273 (Cal. 2004).
  44
    There are no material differences in unjust enrichment law among the states, nor
  does Defendant identify any. Tele Aid, 257 F.R.D. at 58 (“While there are minor
  variations in the elements of unjust enrichment under the laws of the various states,
  those differences are not material and do not create an actual conflict.”).

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  make them whole.” Id. Here, Plaintiffs have sufficiently alleged that Defendant

  benefitted, and profited, by concealing and otherwise misrepresenting the nature of

  the Timing Chain System.

        First, Rule 8 specifically allows a party to plead in the alternative.45 FED. R.

  CIV. P. 8(a)(3). Thus, it is appropriate to plead both legal claims and an unjust

  enrichment claim.

        Second, plaintiffs need not deal directly with Defendant in order for unjust

  enrichment claims to succeed; rather, “[t]he critical inquiry is whether the

  plaintiff’s detriment and the defendant’s benefit are related to, and flow from, the

  challenged conduct.” In re K-Dur, 338 F. Supp. 2d at 544. Indeed, “the essence of

  the doctrine of unjust enrichment is that there is no direct relationship between the

  parties.” Benefit Trust Life Ins. Co. v. Union Nat’l Bank of Pittsburgh, 776 F.2d

  1174, 1177 (3d Cir. 1985).46

        While there is a split in this District regarding the necessary relationship

  between a purchaser and a defendant to state a claim for unjust enrichment, with

  45
    See, e.g., Pauly v. Houlihan’s Rests., Inc., No. 12-cv-0025, 2012 WL 6652754, at
  *3 (D.N.J. Dec. 20, 2012) (plaintiff may plead alternative theories under an express
  contract and under quasi-contract).
  46
    See also In re Cardizem CD Antitrust Litig., 105 F. Supp. 2d 618, 671 (E.D.
  Mich. 2000) (“Contrary to Defendants’ argument, there is no additional
  requirement that a benefit flow solely from Plaintiffs”); Sheet Metal Workers Local
  441 Health & Welfare Plan v. GlaxoSmithKline, PLC, 737 F. Supp. 2d 380, 428
  (E.D. Pa. 2010) (“a direct relationship between . . . plaintiff and defendant is not
  necessary to assert an unjust enrichment claim.”).

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  this Court having found that a direct relationship is required, the New Jersey

  Supreme Court has never included privity as an element of unjust enrichment. See

  Stewart v. Beam Glob. Spirits & Wine, Inc., 877 F. Supp. 2d 192, 198-99 (D.N.J.

  2012). In fact, in Lee v. Carter-Reed LLC, 203 N.J. 496 (2010), the New Jersey

  Supreme Court reversed denial of class certification of unjust enrichment claims

  against the manufacturer of a dietary supplement, even though consumers

  purchased the supplements from an intermediate retailer.

        As Judge Hillman explained in Stewart, “[t]he notion that ‘some direct

  relationship’ exist between the parties is simply meant to preclude a plaintiff from

  seeking recovery from a defendant whose involvement is too far removed or too

  attenuated from the facts and circumstances giving rise to the plaintiff’s claims.”

  Id. at 200. As in Stewart, it would be inequitable to suggest that Defendant can

  insulate itself from liability on unjust enrichment simply by asserting that the sales

  by third parties cut off any relationship with consumers.

        Third, although there is conflicting authority, Texas courts have recognized

  unjust enrichment as a viable cause of action. See Pepi Corp. v. Galliford, 254

  S.W.3d 457, 460 (Tex. App. 2007) (“Unjust enrichment is an independent cause of

  action.”) (citing HECI Expl. Co. v. Neel, 982 S.W.2d 881, 891 (Tex. 1998)).47


  47
     At a minimum, Texas courts recognize unjust enrichment as a theory of
  recovery, which “can touch ‘passively received’ benefits, where the nexus is some
  related third party’s acts against the plaintiff, when it would be ‘unconscionable for
                                           63
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  XIII. PLAINTIFFS’ STATUTORY                 CONSUMER        FRAUD       CLAIMS
        SHOULD PROCEED

        A.    Plaintiffs Satisfy the Particularity Requirements of Rule 9(b),
              Where Applicable, for the Consumer Fraud Claims

        Contrary to Defendant’s assertion, Plaintiffs’ allegations are sufficiently

  particularized to satisfy the Rule 9(b) pleading standard (even though such a

  heightened pleading standard is not required for all claims)48. The Complaint

  includes detailed discussions of the misleading provisions in the warranties and

  maintenance schedules, even attaching key provisions and summaries as exhibits.

  Plaintiffs allege not only that Defendant made misrepresentations as to the useful

  life of Class Vehicles and their warranty coverages, but plead precisely what the

  warranties and maintenance schedules represented about Class Vehicle engine

  the receiving party to retain’ them.” Cty. of El Paso, Tex. v. Jones, No. 09-cv-
  00119, 2009 WL 4730343, at *12 (W.D. Tex. Dec. 4, 2009) (quoting Mowbray v.
  Avery, 76 S.W.3d 663, 679 (Tex. Ct. App. 2002)).
  48
    No Georgia or South Carolina court has ever required that consumer fraud claims
  be pleaded with Rule 9(b) particularity. Further, courts analyzing the consumer
  fraud claims in Connecticut, Florida, North Carolina, Ohio, New Hampshire,
  Pennsylvania, and Washington are split or undecided as to whether the Rule 9(b)
  applies. See Omega Eng’g, Inc. v. Eastman Kodak Co., 908 F. Supp. 1084, 1099
  (D. Conn. 1995); Galstaldi v. Sunvest Cmtys. USA, LLC, 637 F. Supp. 2d 1045,
  1058 (S.D. Fla. 2009); CBP Res., Inc. v. SGS Control Servs., Inc., 394 F. Supp. 2d
  733, 739-40 (M.D.N.C. 2005); Ferron v. Search Cactus, L.L.C., No. 06-cv-327,
  2007 WL 1792332, at *4 (S.D. Ohio June 19, 2007); In re: Elk Cross Timbers
  Decking Mktg., No. 15-cv-18-JLL, 2015 WL 6467730, at *19 (D.N.J. Oct. 26,
  2015) (Linares, J.) (considering New Hampshire law); Vassalotti v. Wells Fargo
  Bank, N.A., 732 F. Supp. 2d 503, 511 (E.D. Pa. 2010); Connelly Co. v. Primo
  Water Corp., No. 14-cv-00340, 2016 WL 225663, at *4 (E.D. Wash. Jan. 19,
  2016). Nonetheless, even if Rule 9(b) is applied to each state identified by
  Defendant, Plaintiffs’ claims should proceed.
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  components, their required maintenance and repairs, as well as how Class Vehicle

  owners and lessees were thereby misled about the defective Timing Chain

  System.49 Compl. ¶¶ 8, 9-10, 94, 135-3750, 143, 14951, 15752, 189-94. This in-

  depth explanation of Defendant’s alleged fraud and the nature of the defective

  Timing Chain System clearly meets Rule 9(b)’s requirements. Gotthelf v. Toyota


  49
     Defendant also wrongly suggests that the alleged misrepresentations regarding
  the useful and expected life of a Timing Chain System are non-actionable because
  they involved an inference – as opposed to expressly stated – from the maintenance
  tables. Courts, however, have made clear that implied falsehoods and misleading
  representations, even if not literally false, are actionable under consumer fraud
  statutes. See, e.g., John Wiley & Sons, Inc. v Palisade Corp., No. 04-cv-3359,
  2005 WL 2739267 (S.D.N.Y. Oct. 21, 2005); Stewart v. Smart Balance, Inc., No.
  11-cv-6174-JLL, 2012 WL 4168584, at *9 (D.N.J. June 26, 2012) (Linares, J.).
  Unlike the maintenance schedules in the present case, the two cases cited by
  Defendant, Sears Roebuck & Co. v. Tyco Fire Products. LP, 833 F. Supp. 2d 892,
  899 (N.D. Ill. 2011) and Heyman v. Citimortgage, Inc., No. 14-cv-1680, 2014 WL
  4637034, at *5. (D.N.J. Sep 15, 2014), involve circumstances where no false or
  misleading message could reasonably be inferred.
  50
    Plaintiffs provide that Defendant’s misrepresentations regarding the coverage of
  Class Vehicles’ express warranties were presented to owners and lessees of Class
  Vehicles at or before the time of sale through provisions on Class Vehicle window
  labels, the provided owner’s manuals and brochures, and Defendant’s website.
  Compl. ¶¶ 9-10, 135-37.
  51
    Plaintiffs allege that Defendant’s misrepresentations regarding the cause of the
  Timing Chain System failures were made by authorized Volkswagen and Audi
  dealers at the time of Plaintiffs’ Class Vehicle failures. Compl. ¶ 149.
  52
     Plaintiffs allege that Defendant’s misrepresentations regarding the useful and
  expected life and the required maintenance of the engine of the Class Vehicles, and
  particularly those made by the sales and marketing executives at VWGoA, took
  place through the USA Warranty and Maintenance Schedules (shown and/or
  summarized in Exhibits A-C, E, G, etc.) which were provided to owners and
  lessees of Class Vehicles at the time of sale/lease. Compl. ¶¶ 8, 94, 143, 157.

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  Motor Sales, U.S.A., Inc., No. 11-cv-4429-JLL, 2012 WL 1574301, at *15-18

  (D.N.J. May 3, 2012) (Linares, J.), affd, 525 F. App’x 94 (3d Cir. 2013) (noting

  that the purpose of the heightened Rule 9(b) pleading standards is to ensure

  plaintiffs sufficiently plead circumstances surrounding an alleged fraud to place

  defendants on notice of the “precise misconduct with which [it is] charged.”).

        Moreover, contrary to Defendant’s assertions, Plaintiffs allege that the defect

  in the Timing Chain System manifests within the express warranty period prior to

  total and premature engine failure. See, e.g., Compl. ¶¶ 139, 248, 309, 311, 369,

  395. Additionally, the Complaint particularly sets forth how and when Defendant

  attained its knowledge of the defect. See, e.g., Compl. ¶¶ 11, 107, 111-122 153

  (alleging Defendant’s knowledge of the defective Timing Chain System through

  pre-production testing, pre and post production failure mode analysis, the issuance

  of TSBs advising dealers of Timing Chain System problems, aggregate warranty

  data analysis, repair orders and parts data, consumer complaints, and follow up

  testing and redesign of the Timing Chain System). These allegations are amply

  sufficient to satisfy Rule 9(b).

        Plaintiffs’ allegations also include claims predicated on Defendant’s

  fraudulent omissions. The “heightened standard [under Rule 9(b)] is somewhat

  relaxed in a case based on a fraudulent omission,” as compared to a claim based on

  an affirmative misrepresentation. Montich v. Miele USA, Inc., 849 F. Supp. 2d


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  439, 451 (D.N.J. 2012). “[P]laintiffs pleading a fraud by omission claim are not

  required to plead fraud as precisely as they would for a false representation claim.”

  Feldman v. Mercedes–Benz USA, LLC, No. 11-cv-00984, 2012 WL 6596830, at

  *10 (D.N.J. Dec. 18, 2012). Defendant argues that Plaintiffs’ claims of fraudulent

  omission fail Rule 9(b)’s standards as the Complaint does not establish

  Defendant’s duty to disclose. However, as discussed above (see supra at Section

  X.A.), Plaintiffs’ allegations are sufficient to establish that Defendant has a duty to

  disclose the defect.53   Plaintiffs’ consumer fraud claims satisfy the Rule 9(b)

  standard for particularity.

        B.     Plaintiffs Have Adequately Alleged Reliance and Deceptive Acts
               by Defendant

        Defendant contends that the Complaint fails to allege subjective reliance by

  Plaintiffs or that Defendant committed objectively deceptive acts, as required by

  the consumer fraud statutes of Arkansas, California, Colorado, Connecticut,

  Florida, Georgia, Illinois, Indiana, Maryland, Michigan, New Jersey, New York,

  North Carolina, Ohio, Pennsylvania, South Carolina, Texas and Washington. See

  Mot. at 68-70. Defendant is wrong.




  53
     Plaintiffs’ allegations are substantiated with detailed allegations of Defendant’s
  scheme to shift the blame for the Class Vehicle engine failures onto owners and
  lessees by blaming them on “poor and improper maintenance” or other conditions
  outside of Defendant’s responsibility. See, e.g., Compl. ¶¶ 365-66.

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        First, the statutes from New Jersey, New York, California, Florida,

  Arkansas, Colorado, Connecticut, Illinois, Michigan, and Washington54 do not

  contain a formal element of reliance. To state valid claims under these statutes,

  Plaintiffs need not allege that individual consumers actually relied upon

  Defendant’s misleading representations or omissions in entering into their

  purchase. Rather, it is sufficient to allege that an act or practice possessed the

  objective capacity to mislead or was likely to deceive the reasonable consumer.

  See, e.g., Yumul v. Smart Balance, Inc., 733 F. Supp. 2d 1117, 1125 (C.D. Cal.

  2010); Rucker v. Huffman, 99 N.C. App. 137, 142 (N.C. Ct. App. 1990); Oswego

  Laborers’ Local 214 Pension Fund v. Marine Midland Bank, 85 N.Y.2d 20, 26

  (1995); Gennari v. Weichert Co. Realtors, 148 N.J. 582, 607-08 (1997). Whether a

  deceptive act has the capacity to mislead is a question of fact which should not be

  determined on a motion to dismiss. Ackerman v. Coca-Cola Co., No. 09-cv-0395,

  2010 WL 2925955 at *17 (E.D.N.Y. July 2, 2010).

  54
    Int’l Union of Operating Eng’rs Local No. 68 Welfare Fund v. Merck & Co.,
  Inc., 192 N.J. 372, 391 (2007); Stutman v. Chem. Bank, 95 N.Y.2d 24, 30, (N.Y.
  Ct. App. 2000); Yumul v. Smart Balance, Inc., 733 F. Supp. 2d 1117, 1125 (C.D.
  Cal. 2010); Nelson v. Mead Johnson Nutrition Co., 270 F.R.D. 689, 692-93 (S.D.
  Fla. 2010); Stonebridge Collection, Inc. v. Carmichael, 791 F.3d 811, 822 (8th Cir.
  2015) (considering Arkansas law); Nguyen v. Am. Family Mut. Ins. Co., 15-cv-
  0639, 2015 WL 5867266, at *9 (D. Colo. Oct. 8, 2015); Hinchliffe v. Am. Motors
  Corp., 440 A.2d 810, 815-16 (Conn. 1981); Wiegel v. Stork Craft Mfg., Inc., 946 F.
  Supp. 2d 804, 809 (N.D. Ill. 2013); Dix v. Am. Bankers Life Assur. Co. of Fla., 429
  415 N.W.2d 206, 209-210 (Mich. 1987); Schnall v. AT & T Wireless Servs., Inc.,
  259 P.3d 129, 137-38 (Wash. 2011).

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        Here, Plaintiffs have clearly alleged actions by Defendant that possessed the

  objective capacity to mislead or deceive.         Defendant’s representations and

  omissions were likely to mislead purchasers about the expected and useful life of

  the Class Vehicles, the quality and value of the Class Vehicles, and the costly

  repairs that would be passed along to them as a result of the defective Timing

  Chain System. Compl. ¶¶ 156-57, 168, 193. Consumers have a right to know

  before purchasing a vehicle that the vehicle has a defect that could cause

  catastrophic engine failure, posing a significant risk of physical harm and

  substantial economic injury.      Consequently, this Court should not dismiss

  Plaintiffs’ consumer fraud claims.

        Further, while certain consumer protection statutes require a pleading of

  reliance – Georgia, Maryland, Ohio, Pennsylvania, and Texas – Plaintiffs’

  allegations are sufficient. Plaintiffs allege in no uncertain terms that they relied

  upon Defendant’s representations and, as a result, reasonably expected that the

  Timing Chain Systems would last for the useful and expected life of the Class

  Vehicles without the need for costly repair or replacement (or the possibility of a

  dangerous engine failure). See, e.g., Compl. ¶ 70. Moreover, Plaintiffs make clear

  that had they been made aware of the defective Timing Chain System they would

  not have purchased or leased their vehicle, would have paid less for their vehicle or




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  would have avoided substantial repair costs by having the vehicle repaired within

  the warranty period free of charge. Id.

        C.      Plaintiffs Sufficiently Plead an Injury Under The New York and
                Arkansas Consumer Fraud Statutes

        Defendant argues that the New York and Arkansas consumer fraud claims

  should be dismissed for failure to plead an actual injury.

        New York case law, however, is clear. “[A] plaintiff who alleges that a

  deceptive practice caused him to pay more than the good or service he actually

  received was worth may be able to satisfy the injury requirement.” Servedio v.

  State Farm Ins. Co., 889 F. Supp. 2d 450, 453 (E.D.N.Y. 2012), affd, 531 F. App’x

  110 (2d Cir. 2013). Moreover, where a plaintiff specifically claims that he “paid a

  premium for a product based on defendants’ inaccurate representations,” injury for

  a New York consumer fraud claim (NY GBL § 349) has been adequately alleged.

  Ackerman, 2010 WL 2925955, at *23; Small v. Lorillard Tobacco Co., Inc., 94

  N.Y.2d 43, 56 n.5 (1999) (where a plaintiff contends that the defendant’s deception

  caused an inflated price, “a plaintiff might have a claim for the higher price the

  consumer paid for the product as a result of the misrepresentation.”). Plaintiffs’

  overpayment for defective Class Vehicles which were worth less than their

  represented worth constitutes “actual damages” under New York law. See Compl.

  ¶¶ 15, 183-84, 192-93. Further, Defendant has ignored Plaintiffs’ allegations that



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  they were forced to bear the substantial costs of repair when the defect led to

  engine failure. These allegations also support a claim under New York law.

        Similarly, Plaintiffs’ claim under the Arkansas Deceptive Trade Practices

  Act (“ADTPA”) should proceed. Defendant bases its argument on the holding in

  Wallis v. Ford Motor Company, 208 S.W.3d 153, 161 (Ark. 2005), but that

  decision is distinguishable. In Wallis, the court declined to allow the plaintiff’s

  ADTPA claim where the plaintiff only alleged a diminution in value but had not

  suffered any “actual damage or injury.”         Id. at 328 (emphasis in original).

  Notably, however, the court stated that “actual damage or injury is sustained when

  the product has actually malfunctioned or the defect has manifested itself.” Id.

  Here, the Complaint clearly alleges that the defect had manifested for all Plaintiffs.

  See, e.g., Compl. ¶ 248. Because Plaintiffs allege that the defect had manifested,

  Defendant’s argument fails. See Burns v. Toyota Motor Sales, U.S.A., Inc., No. 14-

  cv-02208, 2016 WL 128544, at *3 (W.D. Ark. Jan. 12, 2016) (sustaining ADTPA

  claim where plaintiff alleged that premature rusting had manifested).

        D.     The Georgia and Indiana Consumer Fraud Claims Are Well-Pled

        Defendant argues that Plaintiffs’ consumer fraud claims must be dismissed

  because neither Georgia nor Indiana permit omission-based claims. Defendant,

  however, overlooks the myriad of affirmative misrepresentations made by

  Defendant that Plaintiffs set forth in great detail. See supra at Section X.B.;


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  Compl. ¶¶ 9, 10, 12, 135-37, 143, 149, 156, 157, 362.                    Such affirmative

  misrepresentations are actionable under both Georgia’s and Indiana’s consumer

  fraud statutes.

         E.      At a Minimum, the Colorado, Georgia, South Carolina and Ohio
                 Consumer Fraud Claims Can Proceed on an Individual Basis

         Defendant argues that claims brought under the Colorado Consumer

  Protection Act (“CCPA”), Georgia Fair Business Practices Act (“GFBPA”) and

  South Carolina Unfair Trade Practices Act (“SCUTPA”) cannot be brought in a

  representative capacity. Mot. at 71. Defendant also argues that Plaintiffs’ claim

  under the Ohio Consumer Sales Practices Act (“OCSPA”) was not properly pled as

  a class action. Mot. at 76. However, Plaintiffs have not yet moved for class

  certification and Defendant’s arguments regarding Plaintiffs’ class allegations are

  premature.55




  55
     To the extent necessary, Plaintiffs could re-plead their OCSPA claim to cite
  authority which establishes that Defendant was on notice that its conduct was
  deceptive. See Ohio Rev. Code § 1345.09(B). In particular, the Ohio
  Administrative Code prohibits the use of “any statement . . . in any advertisement
  or sales presentation which could create in the mind of a reasonable consumer a
  false impression as to any material aspect of said advertised or offered vehicle” and
  sets forth that “[i]t shall be a deceptive and unfair act or practice for a dealer [or]
  manufacturer . . . to: . . . (14) Fail to disclose . . . any defect . . . [the] retail repair
  cost of which exceeds or exceeded six per cent of the manufacturer’s suggested
  retail price . . .” OAC 109:4-3-16(B)(3) & (14); see also Amato v. Gen. Motors
  Corp., 463 N.E.2d 625 (Ohio Ct. App. 1982) (concerning car engines advertised
  and sold as having certain characteristics that they did not possess).

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        Moreover, Defendant’s argument is contrary to Supreme Court precedent.

  Under the federal Rules Enabling Act, Federal Rule of Civil Procedure 23 governs

  class actions, not state statutes prohibiting class actions for certain claims, so long

  as applying Rule 23 does not “abridge, enlarge or modify any substantive right.”

  Shady Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 407

  (2010) (quoting 28 U.S.C. § 2072(b)).

        Following the Supreme Court’s decision in Shady Grove, multiple courts

  have held that plaintiffs can assert state consumer protection statutes claims as

  class actions even where the state statutes prohibit representative claims. See, e.g.,

  Lisk v. Lumber One Wood Preserving, LLC, 792 F.3d 1331 (11th Cir. 2015)

  (holding claims under the Alabama consumer protection statute may proceed as

  class action under Rule 23 where statute provide that a private individual “may not

  bring an action on behalf of a class”); In re Hydroxycut Marketing and Sales

  Practices Litig., 299 F.R.D. 648 (S.D. Cal. 2014) (holding that claims under

  Georgia, South Carolina and other state consumer protection statutes may proceed

  as class action under Rule 23 where state statutes do not allow class actions). As

  the Eleventh Circuit observed in Lisk, “Rule 23 alters these substantive rights and

  obligations not a whit; with or without Rule 23, the parties have the same

  substantive rights and responsibilities . . . The disputed issue is only whether they

  may seek redress in one action or must instead bring separate actions.” 792 F.3d at


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  1338. Plaintiffs state valid claims and any class issues can be fully addressed at

  class certification.

         F.     The Consumer Fraud Claims Seeking Equitable Relief Should
                Proceed

         Defendant argues that Plaintiffs can only seek equitable relief under

  California’s Unfair Competition Law (“UCL”), Georgia’s Uniform and Deceptive

  Trade Practices Act (“GUDTPA”) and Minnesota’s Uniform Deceptive Trade

  Practices Act (“MUDTPA”). While such a broad assertion is incorrect,56 it is

  irrelevant to the issue of whether Plaintiffs have stated a claim upon which relief

  can be granted. See Force v. ITT Hartford Life & Annuity Ins. Co., 4 F. Supp. 2d

  843, 857 (D. Minn. 1998) (denying motion to dismiss MUDTPA claim despite

  recognition that only available remedy was injunctive relief). Because Defendant

  has not argued that Plaintiffs fail to adequately allege claims under the UCL,

  GUDTPA and MUDTPA, these claims must proceed.

         Defendant asserts that “equitable relief is foreclosed by Plaintiffs’ admission

  that legal remedies are available to them.” Mot. at 72. But, Defendant misstates

  the law. While injunctive relief is generally afforded when other legal remedies

  are inadequate, legislatures can permit injunctive relief against deceptive trade

  practices even where damages or other remedies are available at law. See, e.g.,
  56
     For example, the California Supreme Court has repeatedly held that “prevailing
  plaintiffs are entitled to both injunctive relief and restitution.” Korea Supply Co.
  v. Lockheed Martin Corp., 63 P.3d 937, 943 (Cal. 2003).

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  Dennis Simmons, D.D.S., P.A. v. Modern Aero, Inc., 603 N.W.2d 336 (Minn. Ct.

  App. 1999) (holding that Minnesota has legislated that injunctive claims under the

  MUDTPA can proceed even if there are other legal remedies available).

         Lastly, Defendant argues that these injunctive claims should be dismissed

  because “Plaintiffs face no risk of future harm.” Defendant, however, has ignored

  the clear allegations of the Complaint. While the majority of the Plaintiffs have

  already sustained engine failure as a result of the defective Timing Chain System,

  the Classes include purchasers of Class Vehicles that have not yet suffered engine

  failure.    Injunctive relief addresses “future harm” to these Class members by

  requiring Defendant to provide notice of the defect and to cover any associated

  repairs free of charge under the warranties.

         G.     The Economic Loss Doctrine Does Not Bar Plaintiffs’ Michigan,
                New Jersey, North Carolina, or Pennsylvania Consumer Fraud
                Claims

         Without analysis, Defendant also broadly concludes that Plaintiffs’

  Michigan, New Jersey, North Carolina and Pennsylvania consumer fraud claims

  are barred by the economic loss rule. Mot. at 73. Again, multiple courts have held

  that consumer fraud claims under the laws of these states are not barred by the

  economic loss doctrine. See, e.g., In re Ford Motor Co. E-350 Van Prods. Liab.

  Litig. (No. II), No. 03-cv-4558, 2008 WL 4126264, at *29 (D.N.J. Sept. 2, 2008)

  (listing multiple cases refusing to dismiss NJCFA claims under the economic loss


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  doctrine); Kantor v. Hiko Energy, LLC, 100 F. Supp. 3d 421, 429 (E.D. Pa. 2015)

  (holding that the economic loss rule does not bar a Pennsylvania consumer fraud

  claim and stating that even if Werwinski was still good law, it would not bar

  plaintiff's claims because they arise from representations made prior to his entering

  into the contract); In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 967

  (N.D. Cal. 2014) (applying North Carolina law and holding that “the consumer

  protection statute here gives rise to a duty independent of the contract and therefore

  should not be barred by the economic loss rule”); Safeco Ins. Co. of Am. v. CPI

  Plastics Grp., Ltd., 625 F. Supp. 2d 508, 520 (E.D. Mich. 2008) (Michigan’s

  economic loss doctrine does not apply to consumer transactions).

        H.     Plaintiffs Have Adequately Stated a Consumer Fraud Claim
               Under Connecticut Law
        Defendant argues that Plaintiffs cannot maintain claims under both the

  Connecticut Product Liability Act, Conn. Gen. Stat. § 52-572m-q (“CPLA”) and

  the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. Ann. §§ 42-110a et

  seq. (“CUTPA”).      Mot. at 74.     Defendant, however, ignores Gerrity v. R.J.

  Reynolds Tobacco Company, 818 A.2d 769 (Conn. 2003), a Connecticut Supreme

  Court decision, which stands to the contrary. In Gerrity, the court held that a

  plaintiff’s CUTPA claim – based on a financial injury caused by a defective




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  product – may be asserted in conjunction with a CPLA claim. Id. at 775-76.

  Accordingly, Plaintiffs’ CPLA and CUTPA claims should proceed.57

        I.    Warranty Coverage Does Not Negate Plaintiffs’ New Jersey and
              California Consumer Fraud Claims

        As previously noted, “[w]arranty coverage of a particular problem does not,

  as a matter of law, negate a [New Jersey Consumer Fraud Act] claim that the

  manufacturer knowingly omitted information about a design defect.” Mickens v.

  Ford Motor Co., 900 F. Supp. 2d 427, 438-42 (D.N.J. 2012). As the Court

  recognized in Mickens, while New Jersey allows a defense in circumstances where

  a warranty exists and the product performs beyond that warranty period, “[t]hat

  principle, however, is not without limits” and a “plaintiff may nevertheless state a

  claim by alleging that the purported defect manifested itself within the warranty

  period and that the manufacturer knew the product would fail.” 900 F. Supp. 2d at

  443-44.

        Meanwhile, California's UCL and CLRA require that manufacturers disclose

  defects manifesting even after expiration of the warranty period “if: 1) the

  omission is ‘contrary to a representation actually made by the defendant’; or 2) the

  omission pertains to ‘a fact the defendant was obligated to disclose,’ e.g., facts

  relating to product safety.” Oestreicher v. Alienware Corp., 544 F. Supp. 2d 964,
  57
    Defendant also asserts that the CPLA claim should be dismissed because it fails
  to articulate a viable breach of warranty claim. As stated in supra at Sections V &
  VI, Plaintiffs’ warranty claims are well-pled, and the CPLA claim should proceed.

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   969 (N.D. Cal. 2008), affd, 322 F. App’x 489 (9th Cir. 2009) (citing Daugherty v.

   Am. Honda Motor Co., Inc., 144 Cal. App. 4th 824, 835-36 (Cal. Ct. App. 2nd

   Dist. 2006)). Additionally, where an undisclosed alleged defect was present in the

   product at the time of sale or lease, and not the result of a breakage of the product

   over time because of typical use and wear, a limited warranty does not bar UCL

   claims. Collins v. eMachines, Inc., 202 Cal. App. 4th 249, 257 (Cal. Ct. App. 3rd

   Dist. 2011); Rutledge v. Hewlett-Packard Co., 238 Cal. App. 4th 1164, 1175 (Cal.

   Ct. App. 6th Dist. 2015) (expiration of the warranty period does not preclude UCL

   claim). Indeed, courts routinely uphold California consumer protection claims in

   automotive defect cases. See, e.g., Falco v. Nissan N. Am. Inc., No. 13-cv-00686,

   2013 WL 5575065, at *3 (C.D. Cal. Oct. 10, 2013) (finding that although under

   Daughetry “a warranty generally defines a consumer’s expectations of a product’s

   performance under California law,” California courts have carved out an exception

   to this rule whereby “[a] manufacturer’s duty to consumers is not limited to its

   warranty obligations where the nondisclosure involves an unreasonable safety

   risk.”); Ehrlich v. BMW of N. Am., LLC, 801 F. Supp. 2d 908, 918 (C.D. Cal. 2010)

   (concluding that a safety-based exception to the Daugherty rule exists which

   creates a duty on the manufacturer to disclose a defect posing a safety risk even

   after the period of an express warranty expires); Cholakyan v. Mercedes-Benz

   USA, LLC, 796 F. Supp. 2d 1220, 1236-37 (C.D. Cal. 2011) (finding that courts


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   considering allegations of a vehicle’s unreasonable safety risk, including

   catastrophic engine failure, have denied motions to dismiss CLRA claims); Keegan

   v. Am. Honda Motor Co., Inc., 838 F. Supp. 2d 929, 940-44 (C.D. Cal. 2012)

   (“Because plaintiffs have adequately alleged a safety defect, they have sufficiently

   pled a material failure to disclose for purposes of the CLRA and UCL.”).

         J.    The New York, Connecticut, and Ohio Consumer Fraud Claims
               Are Timely

         Defendant’s attempt to dismiss, as untimely, the consumer fraud claims in

   New York, Ohio, and Connecticut also fails. The statute of limitations for these

   claims is triggered not by the date of the sale, as argued by Defendant, but by the

   occurrence of a violation.58 Here, in addition to pre-sale misrepresentations and

   omissions, Plaintiffs have alleged post-sale deceptive conduct; the post-sale

   conduct constitutes violations of the consumer fraud statutes and such claims are

   timely brought.

         Courts have held that post-sale deceptive conduct is actionable under the

   consumer fraud statutes at issue. Notably, in Marshall v. Hyundai Motor America,

   51 F. Supp. 3d 451 (S.D.N.Y. 2014), the court rejected the vehicle manufacturer’s

   58
     See Indep. Ins. Serv. Corp. v. Hartford Life Ins. Co., 472 F. Supp. 2d 183, 190
   (D. Conn. 2007) (the “limitation period for [CUTPA] is triggered upon the
   occurrence of the alleged violation”); Ohio Rev. Code Ann. § 1345.10 (an action
   may not be brought “more than two years after the occurrence of the violation”);
   Corsello v. Verizon N.Y., Inc., 967 N.E.2d 1177, 1184 (N.Y. 2012) (there must be
   “successful deception of plaintiffs within three years of the time the action was
   brought”).
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   argument that the NY GBL § 349 claim was time-barred, because the plaintiffs had

   alleged “post-sale” fraud, specifically its “fail[ure] to disclose information about

   the defects in the brake system through adequate warnings or recall notices.” Id. at

   459, 465-66; see also Statler v. Dell, Inc., 775 F. Supp. 2d 474, 484-85 (E.D.N.Y.

   2011) (denying motion to dismiss a NY GBL § 349 claim based upon alleged

   deceptive post-delivery conduct); CSL Silicones Inc. v. Midsun Grp. Inc., 170 F.

   Supp. 3d 304, 312 (D. Conn. 2016) (agreeing that a “CUTPA claim can accrue

   separately for each discrete illegal act that forms the basis of a CUTPA claim”).

   Here, the Complaint alleges post-sale deceptive conduct by Defendant, most

   notably its failure to disclose the defect to consumers despite long having

   knowledge of it. See, e.g., Compl. ¶¶ 136, 168-69, 181. The consumer fraud

   claims under New York, Ohio, and Connecticut law are timely.

                                    CONCLUSION

         For the foregoing reasons, Defendant’s Motion should be denied.




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